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                                                        Page 1                                                      Page 3
 1       IN THE UNITED STATES DISTRICT COURT              1 APPEARANCES: (all appearing virtually)
           NORTHERN DISTRICT OF ILLINOIS                  2       Mr. Max A. Stein
                                                                  Boodell & Domanskis
 2             EASTERN DIVISION
                                                          3       1 North Franklin
 3   SEC,                  )                                      Suite 1200
                       )                                  4       Chicago, Illinois 60606
 4           Plaintiff, )                                         312.938.4070
                       )                                  5       mstein@boodlaw.com
 5     vs.               )No. 18-cv-5587                           on behalf of certain investors;
                       )                                  6
 6   EQUITYBUILD, INC., et al., )                                 Mr. Michael Kurtz
                                                          7       Kurtz & Augenlicht
                       )
                                                                  123 West Madison Street
 7           Defendants. )                                8       Suite 700
 8                                                                Chicago, Illinois 60602
 9         The virtual deposition of MATTHEW              9       312.265.0106
10   TURZEWSKI, taken pursuant to subpoena in accordance          mkurtz@kalawchicago.com
11   with the Federal Rules of Civil Procedure of the    10        on behalf of 1839 Fund I, LLC.
12   United States District Courts pertaining to the     11   Also Present: (all appearing virtually)
                                                         12       Mr. Robert Jennings
13   taking of depositions, taken before MARYBETH
                                                                  Ms. Valentina Salge
14   ROESSLER, CSR, RPR, CSR License No. 084-002864, a13
15   notary public within and for the County of Will and 14
16   State of Illinois, taken on Friday, October 29,     15
17   2021, commencing at about the hour of 10:00 a.m.    16
18                                                       17
19                                                       18
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                                                         20
21                                                       21
22                                                       22
23                                                       23
24                                                       24

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 1 APPEARANCES (all appearing virtually)                          1              INDEX
 2      Ms. Alyssa A. Qualls                                      2
        Mr. Benjamin Hanauer                                          WITNESS                     PAGE
 3      U.S. Securities and Exchange                              3
        Commission                                                    MATTHEW TURZEWSKI
 4      175 West Jackson Boulevard                                4
        Suite 1450                                                      Examination
 5      Chicago, Illinois 60604                                   5       By Mr. Stein        5
        312.886.2542                                              6     Examination
 6      quallsa@sec.gov                                                   By Ms. Qualls       124
        hanauerb@sec.gov                                          7
 7        on behalf of U.S. Securities and                              Examination
          Exchange Commission;                                    8       By Ms. Wine             129
 8                                                                9     Further Examination
        Ms. Jodi Rosen Wine                                               By Mr. Stein            151
 9      Rachlis Duff & Peel, LLC.                                10
        542 South Dearborn                                            TURZEWSKI EXHIBITS                 PAGE
10      Suite 900                                                11
        Chicago, Illinois 60605                                     No. 1                     29
11      312.275.5108                                             12 No. 2                     38
        jwine@rdaplaw.com                                           No. 3                     46
12        on behalf of Kevin B. Duff, Federal                    13 No. 4                     60
          Equity Receiver for the Estate of                         No. 5                     68
13        EquityBuild, Inc., etc.                                14 No. 6                     74
14      Mr. Todd Gale                                               No. 7                     81
        Dykema                                                   15 No. 8                     86
15      10 South Wacker Drive                                       No. 9                     89
        Suite 2300                                               16 No. 10                     98
16      Chicago, Illinois 60606                                     No. 11                    101
        312.627.2173                                             17 No. 12                    102
17      tgale@dykema.com                                            No. 13                    103
              and                                                18 No. 14                    107
18      Mr. David E. Hart                                           No. 15                    115
        Maddin, Hauser, Roth & Heller, P.C.                      19 No. 16                    117
19      28400 Northwestern Highway, 2nd Floor                       No. 17                    119
        Southfield, Michigan 48034                               20 No. 18                    122
20      248.827.1884                                                No. 19                    145
        dhart@maddinhauser.com.                                  21 No. 20                    148
21       on behalf of BC57;                                         No. 21                    152
22                                                               22
23                                                               23
24                                                               24

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                                                    Page 5                                                      Page 7
 1       MR. STEIN: Good morning. As I mentioned off          1   and I ask that you please try to answer my
 2   the record, Mr. Turzewski, my name is Max Stein and      2   questions to the best of your ability.
 3   I'm an attorney representing some of the individual      3            Will you agree to that?
 4   lenders in Group 1 of this receivership.                 4       A Yes.
 5           Could you please state your full name            5       Q You understand that you were
 6   for the record?                                          6   administered an oath, meaning that your answers
 7       THE WITNESS: Matthew Turzewski.                      7   today are being given under oath; is that right?
 8               (Reporter interruption.)                     8       A Yes.
 9               (Driver's license shown.)                    9       Q The deposition today is being
10               (Witness virtually duly sworn.)             10   transcribed by the court reporter. The court
11               MATTHEW TURZEWSKI,                          11   reporter will be taking down your answers and it is
12   called as a witness herein, having been virtually       12   difficult for her, as talented as she is, to record
13   first duly sworn, was examined and testified as         13   a nod or a shake of the head. To help everybody
14   follows:                                                14   involved here, I'm going to ask that you answer my
15                 EXAMINATION                               15   questions orally.
16       By Mr. Stein:                                       16            Will you agree to try to do that?
17       Q Thank you. Good morning again,                    17       A Yes.
18   Mr. Turzewski. We are here today for a deposition.      18       Q Also just like the court reporter can
19   And a deposition is a little bit of an odd thing        19   only record oral responses, she also can only take
20   because I, somebody who you never met before, is        20   down one person talking at a time. I will do my
21   going to ask you questions about things that you        21   best not to interrupt you, and I will ask that you
22   did in your professional life going on like four        22   please try to wait until I have completed my
23   years ago now.                                          23   question before giving an answer.
24           Sometimes you're going to think to              24            Is that okay?
                                                    Page 6                                                      Page 8
 1   yourself, man, that's a dumb question, and some of       1      A     Yes.
 2   the time you're probably going to be right. I            2      Q      If you do not answer -- pardon me.
 3   fully acknowledge that. Other times I may ask you        3           If you do not understand my question,
 4   what seems to you to be a fairly obvious question,       4   please let me know and I will try to rephrase it.
 5   because I need to get something on the record. I         5           Is that okay?
 6   need you to confirm something that everybody knows       6       A Yes.
 7   is indeed the case.                                      7       Q If you need a break at any time, please
 8           And I say all of this at the outset here         8   let us know. A couple last things.
 9   because I'm going to ask you to sort of bear with        9           Are you taking anything that would
10   me today, and hopefully we'll be able to get            10   interfere with your ability to answer my questions
11   through this deposition as smoothly and quickly as      11   fully and completely today?
12   we can.                                                 12       A No.
13           Does that seem fair to you?                     13       Q Is there anyone in the room with you
14       A Yes.                                              14   today?
15       Q Have you ever had your deposition taken           15       A No.
16   before?                                                 16       Q Okay. Other than dealing with the
17       A No.                                               17   logistics of today's deposition, what did you --
18       Q So I'm going to go over -- I'm going to           18   pardon me.
19   give you a little bit of a background. I'm sure         19           Did you talk with anyone about today's
20   your attorneys have also given you some background      20   deposition in preparation for it?
21   on what this is all about. I'm going to give you a      21       A Yes.
22   few instructions for our deposition today in hopes      22       Q With whom did you speak?
23   again to make everything go smoother.                   23       A Legal counsel and my superior.
24           So I'm going to be asking you questions         24       Q Who is -- when you say legal counsel, to
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 1   whom are you referring?                                  1       A No.
 2      A David Hart and his partner.                         2       Q Okay. Then you talked with her a second
 3      Q Do you know his partner's name?                     3   time; is that right?
 4      A Rob Horwitz.                                        4       A Yes.
 5      Q Okay. Anybody else in the category of               5       Q And that would have been after that
 6   legal counsel?                                           6   first conversation, right?
 7      A No.                                                 7       A Yes.
 8      Q And then you mentioned your superior.               8       Q Do you remember when that conversation
 9   Who is that?                                             9   was?
10      A Renee Lewis.                                       10       A Not specifically. More recent than the
11      Q I'm sorry, you broke up at the first               11   first one.
12   name?                                                   12       Q So certainly within the last two weeks.
13      A Renee.                                             13   Within the last one week?
14      Q Could you spell that?                              14       A Yes.
15      A R-e-n-e-e.                                         15       Q Okay. Approximately how long was that
16      Q And the last name Lewis, L-e-w-i-s?                16   conversation?
17      A Yes.                                               17       A Similar to the first one.
18      Q Were all three of those people present             18       Q Okay. What was the substance of that
19   when you talked about the deposition?                   19   conversation?
20      A No.                                                20       A To tell the truth.
21      Q Did you have any conversation about the            21       Q And that was -- who was it that
22   deposition with Ms. Lewis where Mr. Hart or             22   communicated that?
23   Mr. Horwitz were not present?                           23       A Miss Lewis.
24      A Yes.                                               24       Q Very good. Then you also mentioned you
                                                   Page 10                                                    Page 12
 1        Q Talking only about those conversations,           1   spoke with Mr. Hart and Mr. Horwitz.
 2   when did that -- when did those -- pardon me.            2           Did you speak with the two of them
 3           How many times did you and Ms. Lewis             3   together or separately?
 4   talk about the deposition?                               4       A Both.
 5        A Twice.                                            5       Q Okay. Let's first focus on
 6        Q When was the first time?                          6   communications you had with the two of them
 7        A I don't recall specifically.                      7   together.
 8        Q Okay. Some time in the last month?                8           When did those occur -- I'm sorry. Let
 9        A In the last two weeks.                            9   me preface this. In these questions I'm not asking
10        Q Thank you.                                       10   you about the substance of those conversations.
11           Talking now about that first                    11   I'm just asking you about sort of the details at
12   conversation with Ms. Lewis, approximately how long     12   the edges of it, when, where, those kind of things.
13   was that conversation?                                  13   So now I'm going to ask you again.
14        A A couple of minutes.                             14           Thinking of the conversation you had
15        Q Okay. What was the substance of the              15   with -- conversation or conversations you had with
16   conversation?                                           16   both Mr. Hart and Mr. Horwitz, when did that -- how
17        A That there was going to be a                     17   many times did you talk with the both of them?
18   deposition.                                             18       A Three times. No, I spoke with both of
19        Q And was that you telling her that or her         19   them together twice.
20   telling you that?                                       20       Q Okay. And when was -- approximately
21        A Her telling me.                                  21   when was the first time?
22        Q And did she tell you anything about the          22       A Within the last two weeks.
23   deposition other than it was going to be                23       Q And approximately how long was that
24   occurring?                                              24   first conversation?
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                                                 Page 13                                                  Page 15
 1       A Approximately an hour.                           1   else in preparation for the deposition today?
 2       Q Where did it occur?                              2       A Yes.
 3       A Over the phone.                                  3       Q What did you review?
 4       Q Okay. And then you spoke with the two            4       A The credit memo.
 5   of them again a second time; is that right?            5       Q The credit memo that was prepared by
 6       A Yes.                                             6   Bloomfield Capital, is that what you're referring
 7       Q Approximately when did that occur?               7   to?
 8       A Within the last week.                            8       A Yes.
 9       Q Okay. And approximately how long was             9       Q Okay. Did you review the final credit
10   that conversation?                                    10   memo or drafts of it?
11       A About two hours.                                11       A Final.
12       Q Was anybody other than yourself,                12       Q And did you review any other documents
13   Mr. Hart and Mr. Horwitz present for any of those     13   besides the credit memo?
14   -- for either of those conversations?                 14       A No.
15       A Yes.                                            15       Q When you reviewed the credit memo, what
16       Q Who else was present?                           16   was your reaction to it?
17       A Marie Gunning.                                  17       A I didn't have a reaction.
18       Q Was she present for both?                       18       Q Okay. We've mentioned Bloomfield
19       A No.                                             19   Capital a few times already this morning.
20       Q Which conversation was she present              20           That's where you work; is that right?
21   for?                                                  21       A Yes.
22       A The first.                                      22       Q What is Bloomfield Capital?
23       Q And who is Ms. Gunning?                         23       A A commercial real estate lender.
24       A An asset manager.                               24       Q Are there particular types of commercial
                                                 Page 14                                                  Page 16
 1      Q An asset manager at Bloomfield                 1      real estate that Bloomfield prefers to lend
 2   Capital?                                            2      towards?
 3      A Yes.                                           3          A All traditional commercial real estate
 4      Q Okay. Was anybody else present for the         4      assets.
 5   second conversation?                                5          Q And approximately how long have you
 6      A No.                                            6      worked at Bloomfield Capital?
 7      Q And then you also mentioned that you had 7                A Approximately six years.
 8   spoken with Mr. Hart and/or Mr. Horwitz without the 8          Q What is your current title?
 9   other present.                                      9          A Associate.
10          Approximately how many of those             10          Q Has that been your title at Bloomfield
11   conversations did you have?                        11      the entire time you've worked there?
12      A One.                                          12          A No.
13      Q With whom?                                    13          Q What was your prior title?
14      A Mr. Horwitz.                                  14          A Analyst.
15      Q And when was that?                            15          Q Approximately how long have you been an
16      A That was in the last two days.                16      associate?
17      Q And approximately how long was that           17          A Approximately three years.
18   conversation?                                      18          Q And did you have any other titles prior
19      A Approximately an hour.                        19      to analyst?
20      Q Was anybody else present for that             20          A No.
21   conversation?                                      21          Q So you were an analyst for approximately
22      A No.                                           22      three years and then you were an associate --
23      Q Did you prepare -- pardon me.                 23      you've been an associate for approximately three
24          Did you review any documents or anything 24         years?
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                                                Page 17                                                       Page 19
 1       A Yes.                                          1     which one was going to be the borrower for this
 2       Q Did you have any -- where did you work        2     loan?
 3   -- pardon me.                                       3         A I don't recall specifically.
 4          Did you have a job before you came to        4         Q Okay. What did you under -- did you
 5   work at Bloomfield Capital?                         5     understand whether there were existing loans on the
 6       A No.                                           6     five apartment buildings when EquityBuild came to
 7       Q What did you do before coming to work at 7          Bloomfield seeking a loan?
 8   Bloomfield Capital?                                 8         A Yes.
 9       A I was in college.                             9         Q What did you understand about those
10       Q Where were you in college?                   10     existing loans?
11       A The University of Michigan.                  11         A That they existed and they wanted the
12       Q When did you graduate?                       12     loans to be refinanced, to be paid off.
13       A 2015.                                        13         Q And was it that they wanted to get new
14       Q What did you get a degree in?                14     loans to replace each of the separate loans or were
15       A Economics.                                   15     they looking to consolidate the loans into one or
16       Q We're here today primarily because of a      16     more?
17   loan that was made on five properties in Chicago by17         A Consolidate into one.
18   an entity known as BC57, LLC.                      18         Q Did you have an understanding as to why
19          Are you familiar with that entity?          19     EquityBuild was seeking to consolidate the loans
20       A Yes.                                         20     into one loan?
21       Q What is that entity?                         21         A I don't recall.
22       A A lender.                                    22         Q Given that there were existing loans on
23       Q Is BC57, LLC affiliated with Bloomfield      23     the properties, did you have an understanding as to
24   Capital in any way?                                24     whether there would be existing mortgage liens on
                                                Page 18                                                       Page 20
 1       A Yes.                                            1   the properties?
 2       Q How?                                            2       A Yes.
 3       A It's -- it's owned by Bloomfield                3       Q And what was that understanding?
 4   Capital.                                              4       A That there were existing liens.
 5       Q Did you participate in the loan that was        5       Q What does that mean that there is an
 6   made by BC57 to EquityBuild regarding five            6   existing lien on a property?
 7   properties on the south side of Chicago?              7       A That there was a mortgage lien at that
 8       A Yes.                                            8   time.
 9       Q I want to sort of get a sort of broad           9       Q Based on your experience at Bloomfield
10   scope of what that loan was about.                   10   Capital as a commercial real estate lender, what
11           Can you explain what the loan was and        11   does it mean if there is a mortgage lien on a
12   how it came to be that Bloomfield decided to make    12   property?
13   it?                                                  13       A That there's an existing loan secured by
14       A The loan, as you said, was a loan on           14   that property.
15   five apartment buildings on the south side of        15       Q And what rights would the person that
16   Chicago. The loan was requested by EquityBuild       16   holds the lien -- person or entity that holds the
17   approximately four years ago.                        17   lien have with regard to the loan and with regard
18       Q When you say EquityBuild, what are you         18   to the property?
19   referring to?                                        19       MR. HART: I'll object to the extent you're
20       A The borrower.                                  20   calling for a legal conclusion, but he can
21       Q Are you aware of multiple EquityBuild          21   certainly testify to his understanding.
22   entities?                                            22       THE WITNESS: The lender would have the right
23       A Yes.                                           23   in my understanding to pursue that collateral in
24       Q And did you have an understanding as to        24   the event of a default of that.
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                                                    Page 21                                                    Page 23
 1       By Mr. Stein:                                         1   was authorized to act on behalf of EquityBuild,
 2       Q For you as a commercial real estate                 2   Inc.?
 3   lender coming in to refinance a property, what work       3       A I don't recall specifically.
 4   do you need to do with regard to any existing             4       Q Were you also familiar with an entity
 5   mortgage and liens on the property?                       5   called EquityBuild Finance, LLC?
 6       A We with the assistance of legal counsel             6       A Yes.
 7   and the title company, you know, work to have that        7       Q What was that entity?
 8   loan paid off, if a requirement of our new loan is        8       A A lender.
 9   for it to be a first lien mortgage on that same           9       Q Did you have an understanding as to
10   collateral.                                              10   whether it had any relationship with EquityBuild,
11       Q What did you do -- I'm sorry.                      11   Inc., other than being a lender of it?
12            Back in 2017 as you were working on this        12       A I don't recall specifically.
13   loan, did you have an understanding as to why            13       Q Did you ever have an understanding as to
14   EquityBuild was seeking to refinance these loans?        14   whether there was common ownership between
15       A I don't recall specifically.                       15   EquityBuild, Inc., and EquityBuild Finance, LLC?
16       Q Okay. Did you review the existing loans            16       A I don't recall specifically.
17   on the properties as part of your work on the            17       Q You've used in your answer that you
18   refinance loan?                                          18   don't recall specifically a few times, and I just
19       A I don't recall.                                    19   want to make sure I understand what you mean when
20       Q Okay. Do you recall whether you                    20   you say specifically.
21   reviewed whether there were existing mortgage liens      21           What does that mean to you?
22   on the properties?                                       22       A I don't recall. It was four years
23       A I don't recall.                                    23   ago.
24       Q We talked about EquityBuild and I want             24       Q Okay. Did you understand -- what role,
                                                    Page 22                                                    Page 24
 1   to make sure I check with you what you understand 1           if any, did you understand that EquityBuild
 2   about two EquityBuild entities. The first one is    2         Finance, LLC played in the refinance loan that was
 3   EquityBuild, Inc., which was the borrower at least  3         made by BC57?
 4   initially, I believe, on both the existing loans    4             A They were the prior lender on the
 5   and the refinanced loan made by BC57.               5         properties.
 6            Does that sound right to you?              6             Q And so they would have been -- when
 7        A Yes.                                         7         Bloomfield -- when BC57 made its loan refinancing
 8        Q What did you understand EquityBuild,         8         the existing loans, the party that was repaid would
 9   Inc., to be?                                        9         have been EquityBuild Finance, LLC; is that
10        A The borrower, the owner of apartment        10         right?
11   buildings.                                         11             A Yes.
12        Q So as the borrower, it was the entity       12             Q Do you know who owned EquityBuild
13   that owned the five apartment buildings that you   13         Finance, LLC?
14   were making the loan on in this instance; is that  14             A I don't recall.
15   right?                                             15             Q Do you know who controlled EquityBuild
16        A Yes.                                        16         Finance, LLC?
17        Q Were you also -- I'm sorry.                 17             A I don't recall.
18            Did you have an understanding as to who 18               Q Do you know who was authorized to act
19   owned EquityBuild, Inc.?                           19         for EquityBuild Finance, LLC?
20        A I don't recall specifically.                20             A I don't recall.
21        Q Do you have an understanding as to who 21                  Q Now, in response to those last three
22   controlled EquityBuild, Inc.?                      22         questions, you said you don't recall, which is
23        A I don't recall specifically.                23         certainly understandable, as you noted this was
24        Q Did you have an understanding as to who 24             four years ago.
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                                                 Page 25                                                     Page 27
 1           At the time that BC57 made its loan to       1     EquityBuild, Inc.?
 2   EquityBuild, Inc., did you have an understanding as 2         A Two.
 3   to who owned, controlled or was authorized to act 3           Q Were you involved in both of those
 4   for EquityBuild Finance, LLC?                        4     deals?
 5       A I don't recall.                                5        A Yes.
 6       Q Okay. And let me just make sure I'm            6        Q When was the -- approximately when was
 7   getting a complete record. I previously asked you 7        the first of those two?
 8   questions, similar questions about EquityBuild,      8        A I don't recall specifically.
 9   Inc., so now I want to just be sure.                 9     Approximately 18 months prior to this loan.
10           At the time that BC57 made a loan to        10        Q And when was the second?
11   EquityBuild, Inc., did you have an understanding as 11        A Between the first and BC57.
12   to who owned, controlled or was authorized to act 12          Q Was it just after the first loan, just
13   on behalf of that legal entity?                     13     before the third loan. When in that sort of 18
14       A I don't recall.                               14     month period would you estimate that second loan
15       Q I may have already asked you this             15     was made?
16   question, and if so, I apologize but I forgot the   16        A I don't recall specifically. I would
17   answer.                                             17     estimate closer to the first loan.
18           Did you have an understanding as to why 18            Q Okay. Thank you. And what were the
19   EquityBuild, Inc., was looking to refinance these   19     nature of those loans?
20   loans?                                              20        A Both were loans on apartment buildings
21       A I don't recall.                               21     in Chicago.
22       Q Do you remember how this particular loan 22             Q Were they like this loan -- I'm sorry.
23   opportunity came to Bloomfield Capital?             23             When I say this loan generally speaking
24       A Yes.                                          24     today, I'm going to be referring to the loan that
                                                 Page 26                                                     Page 28
 1       Q Can you tell me that, please?                    1   was made by BC57. I will try to clarify that, but
 2       A The request was sent by an individual at         2   if I fail to do so, hopefully you'll follow me.
 3   EquityBuild.                                           3   The loan that BC57 made were on multiple apartment
 4       Q Who was that?                                    4   buildings.
 5       A Tyler DeRoo.                                     5              Were the prior two loans also each on
 6       Q And why -- did you have an understanding         6   multiple apartment buildings?
 7   as to why Mr. DeRoo sent the request to                7        A No.
 8   EquityBuild?                                           8        Q Okay. Was either of them on multiple
 9       A I don't recall.                                  9   apartment buildings?
10       Q At the point in time where Mr. DeRoo            10        A No.
11   sent the request to Bloomfield Capital, had           11        Q Each was on a single apartment building
12   Bloomfield Capital done business with EquityBuild,    12   then?
13   Inc., previously?                                     13        A Yes.
14       A Yes.                                            14        Q Approximately how much was loaned on the
15       Q Were you involved in that work?                 15   first of those two loans?
16       A Yes.                                            16        A I don't recall.
17       Q What was -- so at the time that                 17        Q Do you have any recollection as to
18   Mr. DeRoo made the request to EquityBuild -- no,      18   whether it was more or less than the loan that was
19   let me start over.                                    19   made by BC57?
20           At the time that Mr. DeRoo made the           20        A I don't recall.
21   request to Bloomfield Capital regarding the           21        Q How about for the second loan, do you
22   refinance of these loans that were ultimately done    22   have any recollection?
23   by BC57, approximately how many loans had             23        A I don't recall.
24   Bloomfield or its related entities made to            24        Q Okay. Besides Mr. DeRoo, did you work
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 1   with anybody else from EquityBuild with regard to         1       MS. WINE: Max, I do see that in the Dropbox.
 2   either -- any of the three loans that we talked           2       MR. STEIN: Okay. Thank you.
 3   about today?                                              3       MR. HART: We've got to get the Dropbox to
 4       A I, I don't recall.                                  4   Matt it sounds like.
 5       Q Okay. You mentioned that Mr. DeRoo sent             5       THE WITNESS: I'm in it. I only see the
 6   a request to EquityBuild regarding the loan that          6   notice of depositions and the subpoena. I don't
 7   BC57 ultimately made.                                     7   see anything else.
 8           To whom did that request go?                      8       MR. STEIN: All right. One second. Let me
 9       A I don't recall.                                     9   try this. I'm going to do two things in hopes
10       Q When did you first get involved in the             10   of -- the first is I'm going to put into the chat,
11   opportunity that ultimately resulted in the loan         11   I think, the link to the Dropbox, to make sure
12   made by BC57?                                            12   we're all working with the right one, but then I
13       A I don't recall.                                    13   will also share my screen.
14       Q Mr. Turzewski, did you receive a link to           14       By Mr. Stein:
15   a Dropbox folder?                                        15       Q On the screen, Mr. Turzewski, you should
16       A Yes.                                               16   see an email dated July 31, 2017, that appears to
17               (A document was marked Turzewski             17   be an email from Brandon Kling at Bloomfield
18                Exhibit No. 1 for                           18   Capital to Tyler.
19                identification.)                            19           Do you see that?
20       By Mr. Stein:                                        20       A Yes.
21       Q Okay. I'm going to ask you to go to                21       Q Does this indicate to you that the
22   that Dropbox folder, and you should see a document       22   request that you were referring to that came in
23   that I am marking as Exhibit 1. You may need to          23   from Mr. DeRoo might have gone to Mr. Kling at
24   refresh the folder, and then if you have the folder      24   Bloomfield Capital?
                                                    Page 30                                                    Page 32
 1   sorted by name, it should be -- it should now be     1            A Yes.
 2   the last email -- pardon me -- the last document in 2             Q Who is Mr. Kling?
 3   that folder.                                         3            A One of our asset managers.
 4            Do you see that, Exhibit 1?                 4            Q In the hierarchy of Bloomfield Capital
 5       A No.                                            5        where does an asset manager fit in as compared to
 6       Q Do you see a number of about 42 files in       6        an analyst?
 7   that folder?                                         7            A Superior.
 8       A No.                                            8            Q And as compared to an associate?
 9       Q Okay. Can you try refreshing?                  9            A Similar. It's a separate department.
10       A Yeah, it's -- it's still not there.           10            Q Okay. Thank you.
11       Q Okay.                                         11                Do you have any -- did you work with
12       MR. STEIN: Are others able to see the           12        Mr. Kling at Bloomfield Capital around this time?
13   exhibits?                                           13            A Yes.
14       MR. GALE: Max, I have a question. Based on 14                 Q In what way would you two work
15   the way you described it, it sounds like what       15        together?
16   you're trying to mark is the document that's called 16            A We were both at Bloomfield.
17   2021-10-8-subpoena to Turzewski. Is that the one?17               Q Okay. Did you work together on the
18       MR. STEIN: No. Actually I'm trying to mark a 18           prior EquityBuild loans that Bloomfield Capital
19   document 20170731 Turzewski email.                  19        made?
20       MR. GALE: Oh, okay. I see that one. All         20            A No. Brandon's involvement would
21   right, I'll open that one up.                       21        typically begin after my involvement would end in
22       MR. STEIN: But hang on.                         22        any transaction.
23       MR. HART: Say that again, 2017, which?          23            Q Could you explain why that is?
24       MR. STEIN: 20170731 Turzewski email.            24            A Because as asset manager, our asset
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                                                    Page 33                                                    Page 35
 1   managers are servicing the loans after they close.        1       A It depends on -- it depends on the deal
 2   My involvement is prior to and up to closing.             2   and it depends on the value of the properties.
 3      Q Okay. Thank you. Sorry.                              3       Q Are there circumstances -- around this
 4           I'm now scrolling up in this same email,          4   time in 2017 were there circumstances in which
 5   and above it there is a second email that comes           5   Bloomfield Capital would make a loan if the amount
 6   from Mr. DeRoo back to Mr. Kling copying Ronald           6   of the loan was more than the total amount that the
 7   Bol, in which Mr. DeRoo says please find attached a       7   borrower had in the property?
 8   cost basis worksheet along with proposed loan             8       A Yes.
 9   amounts.                                                  9       Q What circumstances would allow that?
10           Do you see that?                                 10       A If my credit committee, my investment
11      A Yes.                                                11   committee believed that the loan was still at an
12      Q Do you believe that to be a reference to            12   acceptable loan to value.
13   the loan opportunity that ultimately resulted in         13       Q What does loan to value mean?
14   the loan that BC57 made?                                 14       A It's a percentage, the loan balance as a
15      A Yes.                                                15   percentage of the value of the property, the value
16      Q Now, scrolling up in the email thread,              16   of the collateral.
17   there's an email in which Mr. Kling asks, the same       17       Q Okay. In response to your email, you
18   one you were thinking of.                                18   received an email from Mr. Kling a few minutes
19           Do you see that email?                           19   later that says you mean we're not doing 125 --
20      A Yes.                                                20   125 percent LTC.
21      Q Do you have an understanding as to                  21           Do you see that?
22   whether that was an email that was sent to you?          22       A Yes.
23      A I don't recall.                                     23       Q What did you understand Mr. Kling to
24      Q Okay. I'm scrolling up -- I'm                       24   mean by 125 percent LTC?
                                                    Page 34                                                    Page 36
 1   continuing to scroll up, and as you go -- with            1      A LTC is loan to cost.
 2   these email threads they generally speaking go from       2      Q Okay. And so what would 125 percent LTC
 3   bottom to top in terms of oldest to most recent.          3   loan be?
 4   So as we scroll up, we get to an email that came          4      A It would mean 125 percent of the total
 5   from you on July 31, 2017 at 6:20 p.m., in which          5   cost basis in the property.
 6   you wrote, no, different. Better location.                6      Q So if the total cost basis in a property
 7          Do you see that?                                   7   was $1 million, the total amount of the loan would
 8       A Yes.                                                8   be capped at $1.25 million; is that right?
 9       Q Then you note that this could be                    9      A Yes.
10   interesting. The problem is the loan amount              10      Q And what is the difference between LTC,
11   they're requesting is more than the total amount         11   loan to cost, and LTV, loan to value?
12   they currently have into them, purchase price plus       12      A Cost is the cost basis in the property.
13   capex spent.                                             13   Value is the actual value of the property. They're
14          Do you see that?                                  14   not necessarily the same.
15       A Yes.                                               15      Q Thank you.
16       Q What were you saying in that email?                16          And in response to Mr. Kling's question,
17       A I don't recall beyond what's shown here.           17   you say not that I'm aware of; is that right?
18       Q Okay. But in terms of what is shown                18      A Yes.
19   here, what does it mean that the problem was that        19      Q Okay. I'm going to stop sharing my
20   the loan amount was more than the total they             20   screen with that one.
21   currently had into the properties?                       21          Around this time did you begin to work
22       A It appears that the request was for more           22   on the possible loan that ultimately was made by
23   than their cost basis in the building.                   23   BC57?
24       Q And why would that be a problem?                   24      A I don't recall.
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                                                  Page 37                                                    Page 39
 1       Q Are you able to access that Dropbox               1       Q Okay. I'd now like to ask you to look
 2   folder now? I'm only asking because I'm going to        2   at Exhibit 2. Exhibit 2 is an email thread, the
 3   mark another exhibit and I want to either share it      3   most recent of which is dated August 2, 2017, and
 4   or ask you to look at it.                               4   at the bottom of the first page of Exhibit 2, there
 5       A I still only see the notice and the               5   is a Bates number that is BC570000931.
 6   subpoena.                                               6           Do you have that document in front of
 7       MR. STEIN: Okay. Very strange.                      7   you, Mr. Turzewski?
 8       MR. HART: Matt, I sent you the link that Max        8       A Yes.
 9   last sent me during the deposition, if you have         9       Q Great. If you scroll down at the bottom
10   access to your emails.                                 10   of this thread, you will see an email from Jason
11       THE WITNESS: I was -- no, I don't right now.       11   Jarjosa, I believe.
12   I was using the link that was sent, was it             12           Do you see that?
13   yesterday?                                             13       A Yes.
14       MR. HART: Oh.                                      14       Q First, am I pronouncing Mr. Jarjosa's
15       THE WITNESS: Is it different?                      15   name correctly?
16       By Mr. Stein:                                      16       A Yes.
17       Q So Matt can you -- pardon me,                    17       Q Thank you. This is an email that
18   Mr. Turzewski, can you access the chat? I put a        18   Mr. Jarjosa sent on August 2, 2017, and it appears
19   new link in the chat or maybe the same link, I'm       19   that he sent it to Marie and Matt.
20   not sure.                                              20           Do you see that?
21       A Yes. Hang on.                                    21       A Yes.
22       MR. GALE: Max, while he's looking, what is         22       Q Who would you understand -- well, first,
23   the name of the document you plan to mark as           23   do you believe you were the Matt who received this
24   Exhibit 2?                                             24   email?
                                                  Page 38                                                    Page 40
 1        MR. STEIN: So I have now renamed it                1       A Yes.
 2   Exhibit 2, but it is also 2017802 Turzewski email.      2       Q And who do you believe was the Marie
 3        MR. GALE: Got it. Thank you.                       3   that also received the email?
 4        MR. STEIN: I'll let you all in on the little       4       A Marie Gunning, one of our asset
 5   secret of my method here. The numbers are all           5   managers.
 6   dates so at some point I'm going to slip-up and         6       Q Thank you.
 7   refer to them as a date, but hopefully you'll be        7           In his email Mr. Jarjosa begins by
 8   able to follow along.                                   8   saying, I'm sure you both know this loan paid off
 9        THE WITNESS: Okay. This is a different             9   yesterday.
10   folder, so I see these.                                10           Do you see that?
11        By Mr. Stein:                                     11       A Yes.
12        Q Okay. No worries. But now you see               12       Q Do you know which loan he is referring
13   multiple documents in it?                              13   to?
14        A Yes.                                            14       A One of the prior EquityBuild loans.
15               (A document was marked Turzewski           15       Q If you scroll up, you'll see the subject
16                Exhibit No. 2 for                         16   for this email thread is Cohen II.
17                identification.)                          17           Do you see that?
18        By Mr. Stein:                                     18       A Yes.
19        Q Do you see, if you scroll down to the --        19       Q What does Cohen II refer to?
20   it's sorted by name and you scroll to the bottom,      20       A I, I don't recall.
21   you should see Exhibit 1, and Exhibit 2, and I just    21       Q Do you have an understanding as to what
22   marked one as Exhibit 3.                               22   the Cohen in this subject line might refer to?
23            Do you see that?                              23       A Yes.
24        A Yeah.                                           24       Q What?
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                                                 Page 41                                                      Page 43
 1       A Jerry Cohen.                                     1   business plan?
 2       Q Who is Jerry Cohen?                              2       A I don't recall.
 3       A Our guarantor.                                   3       Q If you scroll up in response you send an
 4       Q Is it common for Bloomfield Capital to           4   email that's at the very top of the second page of
 5   refer to loans by the guarantor?                       5   Exhibit 2, where you say yes, I'll reach out, since
 6       A Yes.                                             6   I wanted to reach out on the potential new deal he
 7       Q Okay. Not by the borrower?                       7   sent to Brandon the other day.
 8       A Either.                                          8           Do you see that?
 9       Q Okay. And this one says Cohen Roman              9       A Yes.
10   numeral II, right?                                    10       Q Do you know if you did reach out to
11       A Yes.                                            11   Bloomfield -- no -- to EquityBuild around this
12       Q Does that suggest to you that the loan          12   time?
13   that was paid off was the second one?                 13       A I don't recall.
14       A Yes.                                            14       Q Okay. If we scroll up again, the next
15       Q Okay. At the time that this loan was            15   email in the thread is an email that you sent later
16   paid off, was it your understanding that the second   16   in the day. So the email we just looked at that
17   Bloomfield loan was likely to be paid off around      17   starts at the bottom of the first page and carries
18   this time?                                            18   over onto the second page was sent on August 2nd at
19       A I don't recall.                                 19   10:43 a.m. Then above it is another email you sent
20       Q And I think I neglected to ask you, what        20   at 10:21 p.m. on August 2nd.
21   was Mr. Jarjosa's role at Bloomfield?                 21           Do you see that?
22       A Managing partner.                               22       A Yes.
23       Q What does that role entail?                     23       Q In this email you report to Mr. Jarjosa
24       A He is part of our investment                    24   that you and Brandon talked with Tyler today.
                                                 Page 42                                                      Page 44
 1   committee.                                             1          Do you see that?
 2       Q Okay. Is he still with the company?              2      A Yes.
 3       A Yes.                                             3      Q Does this refresh your recollection
 4       Q Do you know how Bloomfield first came to         4   about whether you did any investigation into
 5   learn of the EquityBuild opportunities when it made    5   Bloomfield -- no -- into EquityBuild's business
 6   that first loan?                                       6   plan around this time?
 7       A I don't recall.                                  7      A No.
 8       Q Do you know who at Bloomfield Capital            8      Q Okay. If you look through -- do you
 9   was responsible for the relationship with              9   have any recollection -- other than what is
10   EquityBuild?                                          10   recorded on this -- pardon me.
11       A I don't recall.                                 11          Other than what is reported in this
12       Q Mr. Jarjosa in his email asks if --             12   email, do you have any recollection of a
13   suggests he'd like to understand EquityBuild's        13   conversation that you might have had with Tyler
14   business plan not only for the other loan that        14   DeRoo at EquityBuild on or around August 2, 2017?
15   EquityBuild has with Bloomfield, but in general.      15      A No.
16   Will they be using us for any other financing.        16      Q If you look down in the email, there is
17            Do you see that?                             17   a note about 4611, will not refinance for several
18       A Yes.                                            18   months. Need to get occupancy up.
19       Q Do you know why Mr. Jarjosa was asking          19          Do you see that?
20   that question at this time?                           20      A Yes.
21       A Not specifically, no.                           21      Q Do you know what that is referring to?
22       Q Around this time did you or any of your         22      A I believe that's referring to the first
23   colleagues at Bloomfield Capital do some              23   loan.
24   investigating regarding EquityBuild's general         24      Q And why do you believe that?
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                                                   Page 45                                                       Page 47
 1       A Because I believe 4611 was the                     1   thread, the most recent of which is dated
 2   address.                                                 2   August 13, 2017, and it's sent from Mr. Jarjosa to
 3       Q Okay. Thank you.                                   3   you, Mr. Turzewski, and bears the first -- the
 4           And then just below that you note, sent          4   first page bears the Bates No. BC570000981.
 5   over a new deal, three properties in the South           5           Is that the document you're looking at,
 6   Shore area.                                              6   Mr. Turzewski?
 7           Do you see that?                                 7       A Yes.
 8       A Yes.                                               8       Q Great. If you could now scroll to the
 9       Q Is that the -- do you know what that's             9   end of the document. There is an email -- I'm
10   referring to?                                           10   sorry. Second to last email, so on page 5 of the
11       A I don't recall.                                   11   exhibit, there is an email from Syed Ahmad to you.
12       Q Do you believe that might be a reference          12           Do you see that?
13   to the properties that ultimately were part of the      13       A Yes.
14   loan that BC57 made?                                    14       Q Who is Syed Ahmad?
15       A It may.                                           15       A He was our intern.
16       Q Then notes also have a -- pardon me.              16       Q Okay. And what was he sending you?
17           In that same paragraph you go on to say,        17       A I don't recall.
18   recapitalization/partner buyout, and they need          18       Q Well, if you look at the email that he
19   additional construction funds. 4.5 million to           19   sent you, does this refresh your recollection at
20   5.0 million total loan request, 137 units.              20   all as to what this is?
21           Do you see that?                                21       A No.
22       A Yes.                                              22       Q Okay. Scrolling up one page, to page 3
23       Q Is that generally speaking in the                 23   of the -- I'm sorry. If you -- were you on page 5?
24   vicinity of what the loan that BC57 ultimately made     24       A Yes.
                                                   Page 46                                                       Page 48
 1   was?                                                     1       Q All right. Now, if you could go up two
 2       A I, I don't recall.                                 2   pages, page 3, there is an email from Jason Jarjosa
 3       Q Okay. You then note that EquityBuild               3   to you dated August 10 at 7:30 a.m.
 4   also have a couple of acquisitions in the pipeline       4           Do you see that?
 5   that we should look at. Properties are further           5       A Yes.
 6   south than the Drexel deals.                             6       Q This email files an email that's on
 7           Do you see that?                                 7   page 4 that you sent on August 9th about Tyler's
 8       A Yes.                                               8   deal in South Shore.
 9       Q Do you know what that's referring to?              9           Do you see that?
10       A I don't recall.                                   10       A Yes.
11              (A document was marked Turzewski             11       Q Do you understand that to be a reference
12               Exhibit No. 3 for                           12   to the deal that ultimately resulted in the loan
13               identification.)                            13   made by BC57?
14       By Mr. Stein:                                       14       A I don't recall specifically.
15       Q Okay. Mr. Turzewski, if you could now             15       Q Were you around this time in August of
16   go back to the Dropbox folder and look at the           16   2017 working on other deals involving Tyler DeRoo
17   document that I've marked as Exhibit 3. It is a         17   that were in the South Shore area?
18   August 13, 2017 email from Mr. Jarjosa. Let me          18       A I don't recall.
19   know if you have that document?                         19       Q Okay. If you look at Mr. Jarjosa's
20       A Yes.                                              20   email that's on page 3, he writes about this
21       Q Great. This email begins -- scrolling             21   potential deal that he agrees the value is
22   down -- I'm sorry, let me do a little bit of things     22   compelling based on the comps, but our gross basis
23   for the record.                                         23   will be higher than they paid for the properties,
24           Exhibit 3 is a document, is an email            24   including renovations.
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                                                  Page 49                                                       Page 51
 1           Do you see that?                                1   Bloomfield made its loan, EquityBuild would also be
 2       A Yes.                                              2   paying cash, putting cash down; is that right?
 3       Q What did you understand that to mean?             3       A Yes.
 4       A I don't recall beyond what's shown                4       Q If EquityBuild could be putting cash
 5   here.                                                   5   down, why would it be making -- taking out a
 6       Q Well, as you sit here today do you have           6   loan?
 7   an understanding what it would mean if a gross          7       MR. HART: Calls for speculation. You're
 8   basis on a loan would be higher than what a             8   asking him what EquityBuild might do.
 9   borrower paid for the property including                9       MR. STEIN: Fair enough. I'll rephrase.
10   renovation?                                            10       By Mr. Stein:
11       A I mean, I think that kind of speaks for          11       Q In your experience as a commercial real
12   itself.                                                12   estate lender, why do borrowers sometimes bring
13       Q And what does it say?                            13   cash to the table at the time that they take out a
14       A The loan basis will be higher than they          14   loan?
15   paid for the properties including the renovation       15       A Why? I think a lot of different
16   costs.                                                 16   reasons. It could be required by the lender. They
17       Q So the loan to cost would be too high?           17   could want to invest it into the transaction. It
18       A Potentially, yes.                                18   just depends on the specific transaction.
19       Q Mr. Jarjosa then goes on to say, I think         19       Q Okay. And in your experience as a
20   we need some broker comments to understand the         20   commercial real estate lender why would the borrow
21   market better. And then says, part of what was         21   -- pardon me -- why would the lender be interested
22   compelling about Drexel is all the equity they         22   in a loan which the borrower was bringing cash to
23   brought to both deals. It looks like they aren't       23   the deal?
24   bringing any equity here.                              24       A Again, I think for a lot of different
                                                  Page 50                                                       Page 52
 1           Do you see that?                                1   reasons. It shows that the borrower's interest is
 2       A Yes.                                              2   aligned with the lender -- is aligned with the
 3       Q What did it mean -- do you have an                3   lender when the borrower is also contributing cash.
 4   understanding as to what Mr. Jarjosa meant when he      4        Q Okay. In Mr. Jarjosa's email he then
 5   said what made the Drexel deals compelling was the      5   goes on to ask a few questions and I want to focus
 6   equity that they brought to the deal?                   6   on the third of the three questions, what was the
 7       A The cash that they brought to those               7   business plan at the time of purchase and why did
 8   transactions.                                           8   it fail?
 9       Q They being EquityBuild?                           9            Do you see that?
10       A Yes.                                             10        A Yes.
11       Q To be clear, EquityBuild, Inc., as the           11        Q Do you remember having any discussions
12   borrower, right?                                       12   internally at Bloomfield Capital about
13       A Yes.                                             13   EquityBuild's business plan for the properties that
14       Q What do you mean the cash that they              14   were the subject of the BC57 loan and why that
15   brought to those deals?                                15   business plan might not have worked?
16       A The cash equity that was invested at             16        A I don't recall.
17   closing.                                               17        Q Do you remember having any conversations
18       Q Okay. And he says it looks like they             18   on or after August 10th of 2017 with EquityBuild
19   aren't bringing any equity here.                       19   about its business plan for the properties and why
20           What do you understand that to mean?           20   it might not have worked?
21       A That they aren't bringing any cash to            21        A I don't recall.
22   this transaction.                                      22        Q If you scroll up in this same email,
23       Q When you say bringing any cash to the            23   there's another email from you, also dated
24   transaction, that means that at the time that          24   August 10th, now at 9:09 p.m., that you sent to
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                                                  Page 53                                                    Page 55
 1   Mr. Jarjosa in response to the email we were just       1       Q Okay. Do you believe you've spoken to
 2   looking at.                                             2   Mr. Prichard since August of 2017?
 3           Do you see that email?                          3       A I don't recall.
 4       A Yes.                                              4       Q You then list notes from Mr. Prichard
 5       Q You note at the start that you had the            5   that explain how he is negative on the area. And
 6   same issue with the requested loan basis.               6   afterwards you write, while the other two brokers
 7           Do you see that?                                7   were more positive, I don't know that I'd want us
 8       A Yes.                                              8   to move forward based on Bryan's comments.
 9       Q What do you understand you meant by               9          Do you see that?
10   that.                                                  10       A Yes.
11       A That they claimed to have invested a             11       Q What did you mean by that?
12   million dollars into the three assets.                 12       A It appears that I spoke with three
13       Q And is that -- why is that a concern?            13   individuals; two were positive and one was
14       A Why is that a concern?                           14   negative.
15       Q Yes.                                             15       Q But you nonetheless say that you're not
16       A I don't -- I don't recall.                       16   sure you want to move forward based on the one
17       Q Okay. Towards the bottom of this email           17   person's negative comments, right?
18   you note that you had broker comments -- you had       18       A Yes.
19   conversations with brokers, and that you also          19       Q Why was that?
20   talked to Bryan Prichard this afternoon. Note          20       A I don't recall.
21   below, he's very negative on the area.                 21       Q Can you scroll up to the top of
22           Do you see that?                               22   Exhibit 3. There is then an email from Mr. Jarjosa
23       A Yes.                                             23   to you sent on August 13, 2017.
24       Q Who is Bryan Prichard?                           24          Do you see that?
                                                  Page 54                                                    Page 56
 1       A He owns multifamily apartment                     1       A Yes.
 2   buildings.                                              2       Q In this email Mr. Jarjosa writes to you,
 3       Q How did you know Mr. Prichard?                    3   I think you want to be in for 30K/unit or less.
 4       A Through Mr. Jarjosa.                              4           Do you see that?
 5       Q Was Mr. Prichard an investor with                 5       A Yes.
 6   Bloomfield Capital?                                     6       Q What did you understand that to mean?
 7       A I don't know.                                     7       A A loan balance of $30,000 per apartment
 8       Q Did Mr. Prichard -- did you understand            8   unit or less.
 9   that Mr. Prichard owned multifamily buildings in        9       Q Okay. Do you have an understanding as
10   Chicago?                                               10   to why Mr. Jarjosa was suggesting that that would
11       A Yes.                                             11   be an appropriate loan level?
12       Q How did -- you said that you knew him            12       A I don't recall.
13   through Mr. Jarjosa.                                   13       Q He then writes if they can bring enough
14          When did you get connected with                 14   equity to make that happen, paren, like the
15   Mr. Prichard?                                          15   renovation, dollar sign, close paren, it may work.
16       A I don't recall.                                  16           Do you see that?
17       Q Was Mr. Prichard somebody you spoke to           17       A Yes.
18   regularly or did you speak to him specifically for     18       Q What did you understand that to mean?
19   this particular loan opportunity?                      19       A I don't recall.
20       A I don't recall.                                  20       Q Mr. Jarjosa then writes otherwise it
21       Q If you had to estimate approximately how         21   seems like too much risk in this submarket.
22   many times do you think you believe you have spoken    22   Probably a pass.
23   with Mr. Prichard?                                     23           Do you see that?
24       A Less than a half dozen.                          24       A Yes.
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                                                Page 57                                                    Page 59
 1       Q So at this point Mr. Jarjosa, who is a          1       A I don't recall.
 2   managing director; is that right?                     2       Q Did you ever talk with anybody at
 3       A Managing partner.                               3   EquityBuild why the investors who were attached to
 4       Q Partner, thank you.                             4   this deal as the lender might have been deal
 5           Mr. Jarjosa and you are both suggesting       5   tired?
 6   that this is probably a pass; is that fair to say?    6       A I don't recall.
 7       A I don't recall.                                 7       Q Was this something that would have been
 8       Q Well, Mr. Jarjosa literally wrote               8   important to you as you were investigating this
 9   probably a pass, right?                               9   potential loan?
10       A Well, he qualified it with --                  10       A I don't recall.
11       Q Okay.                                          11       Q Well, as you sit here today, do you
12       A -- the statement that unless they can          12   think it would be important to investigate why
13   bring enough cash.                                   13   existing lenders on a loan that you were going to
14       Q Okay. And you in the prior email had           14   refinance might have been deal tired?
15   said that you didn't know that you'd want us to      15       A Maybe.
16   move forward based on Bryan's comments,              16       Q Why would it be -- why do you say
17   Mr. Prichard's comments; is that right?              17   that?
18       A Yes.                                           18       A Because it tells the story of the
19       Q Looking on page 2 of this exhibit, your        19   deal.
20   email from August 10th, about halfway through the    20       Q Do you recall doing any investigation in
21   email there is a line that begins G-Slow is gone.    21   2017 as to why the lenders on the EquityBuild
22           Do you see that?                             22   refinance were deal tired?
23       A Yes.                                           23       A I don't recall.
24       Q You then write. Have investors attached        24       Q When you say you don't recall, do you
                                                Page 58                                                    Page 60
 1   to these as the lender, and then a long saga,    1        mean as you sit here today you don't recall doing
 2   they're deal tired, want to get out.             2        that or do you mean that you don't have a
 3           Do you see that?                         3        recollection as to whether you did that or not?
 4       A Yes.                                       4             A I don't recall. This is four years ago.
 5       Q What do you understand that to mean?       5             Q Okay. We've been going about an hour, a
 6       A I don't recall.                            6        little more than an hour.
 7       Q Are you familiar with the phrase deal      7                Would now be an appropriate time to take
 8   tired?                                           8        a break?
 9       A Yes.                                       9             A Are you asking me?
10       Q What does that phrase usually mean?       10             MR. STEIN: I'm asking the group collectively.
11       A Tired of the transaction.                 11        Why don't we take a ten minute break, be back at
12       Q And that's a phrase that you used here    12        11:30.
13   in this email, right?                           13                    (A recess was taken.)
14       A Yes.                                      14             MR. STEIN: All right. Back on the record.
15       Q Do you have any reason to believe that    15                    (A document was marked Turzewski
16   that's not what it would mean in this instance? 16                     Exhibit No. 4 for
17       A No.                                       17                     identification.)
18       Q Do you know what G-Slow is gone means? 18                By Mr. Stein:
19       A I don't recall.                           19             Q Mr. Turzewski, we were just looking at
20       Q You also noted that there were investors 20         Exhibit 3, which ended with an email sent on
21   attached to these as the lender.                21        August 13, 2017.
22           Do you see that?                        22                I want to turn your attention to Exhibit
23       A Yes.                                      23        4, which is an email dated August 15, 2017, from
24       Q What did you understand that to mean?     24        you to Tyler DeRoo. The subject line of which is
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                                                    Page 61                                                    Page 63
 1   term sheet: Illinois Chicago multifamily Cohen,           1   that a summary of the proposed loan?
 2   August 15, 2017. My first --                              2       A Yes.
 3      MR. HART: I'm sorry, what exhibit? What are            3       Q And the proposed loan here is on three
 4   you numbering that?                                       4   addresses; is that right?
 5      MR. STEIN: Exhibit 4.                                  5       A That appears to be correct.
 6      MR. HART: Oh, 4, okay.                                 6       Q And it's noted here that the guarantor
 7      By Mr. Stein:                                          7   on the loan is going to be Jerome Cohen.
 8      Q And the first page of the Exhibit bears              8           Do you see that?
 9   the Bates No. BC570001105.                                9       A Yes.
10          Do you have that in front of you,                 10       Q What import did the guarantee have on
11   Mr. Turzewski?                                           11   this loan?
12      A Yes.                                                12       A I don't recall.
13      MR. GALE: Can you give the date on that one           13       Q The proposed loan amount is $4,246,649
14   more time, Max? I apologize.                             14   as an estimate.
15      MR. STEIN: August 15, 2017.                           15           Do you see that?
16      MR. GALE: Got it. Thanks.                             16       A Yes.
17      By Mr. Stein:                                         17       Q Do you know how that loan amount was
18      Q Mr. Turzewski, what is this email?                  18   arrived at?
19      A It appears to be an email from me to                19       A I don't recall.
20   Tyler with a term sheet.                                 20       Q If you look below that paragraph there
21      Q What is a term sheet?                               21   is a chart that summarizes what the loan proceeds
22      A A term sheet is an outline of the loan,             22   are going to be used for; is that fair to say?
23   the parameters for one of our loans.                     23       A Yes.
24      Q Is it sort of like an offer to make a               24       Q And in that chart it shows that
                                                    Page 62                                                    Page 64
 1   loan?                                                     1   $3,730,000 is going to go towards refinancing the
 2      A Yes.                                                 2   property; is that right?
 3      Q What happened between August 13th and                3       A Yes.
 4   August 15th such that Bloomfield Capital went from        4       Q It also shows that there would be a
 5   two people looking at this loan and saying probably       5   capital improvement reserve of $230,000.
 6   a pass to Bloomfield sending out a term sheet?            6           Do you see that?
 7      A I don't recall.                                      7       A Yes.
 8      Q Do you know if you had any meetings or               8       Q What is a capital improvement reserve?
 9   conversations with anybody at EquityBuild in that         9       A A reserve for construction at the
10   period of time regarding the possible loan?              10   properties, future construction.
11      A I don't recall.                                     11       Q Okay. And that's going to be -- it
12      Q Do you know if you had any internal                 12   indicates lender held.
13   conversations at Bloomfield about what a loan would      13           What does that mean?
14   look like if you were going to make a loan on the        14       A It's held by the lender.
15   property?                                                15       Q The lender meaning Bloomfield?
16      A I don't recall.                                     16       A Yes.
17      Q Okay. In the term sheet, which begins               17       Q So that means that EquityBuild would be
18   on page 2 of the exhibit, there is first on              18   borrowing this money from Bloomfield, but
19   pages 2 and 3 some -- a letter, and then starting        19   Bloomfield is going to hold on to it; is that
20   on page 4 of Exhibit 4 there is a document titled        20   right?
21   term sheet.                                              21       A Yes.
22           Do you see that?                                 22       Q Okay. Then the next line shows an
23      A Yes.                                                23   interest reserve of 116,783; is that right?
24      Q The information starting on page 4, is              24       A Yes.
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                                                  Page 65                                                       Page 67
 1       Q What is that for?                                 1       A The loan is to be no greater than
 2       A A reserve for interest.                           2   85 percent of the total cost.
 3       Q So that would be money that would be              3       Q Thank you. Then it says -- never mind.
 4   used to pay the interest on the loan?                   4   Scroll down on page 5 of the exhibit, the second
 5       A Yes.                                              5   page of the term sheet, it notes that the interest
 6       Q And then the description it notes three           6   rate is going to be 11 percent per annum.
 7   months.                                                 7           Do you see that?
 8           Does that mean that this is equal to            8       A Yes.
 9   three months of interest?                               9       Q That means that for the money it
10       A Yes.                                             10   borrows, EquityBuild, Inc., is going to be paying
11       Q And again, it's going to be lender held,         11   Bloomfield Capital 11 percent on an annual basis;
12   meaning that Bloom -- meaning that EquityBuild,        12   is that right?
13   Inc., would borrow it but Bloomfield would hold it;    13       A Yes.
14   is that right?                                         14       Q Do you know how this interest rate of
15       A Yes.                                             15   11 percent was arrived at?
16       Q Why was Bloomfield proposing a capital           16       A I don't recall.
17   improvement reserve and an interest reserve for        17       Q Scrolling back up a little bit, there is
18   this loan?                                             18   a maturity date, one year from closing.
19       A I don't recall.                                  19           Do you see that?
20       Q The next item is a Bloomfield                    20       A Yes.
21   loan/underwriting/closing/asset management/loan        21       Q Does that mean that the loan was for one
22   servicing fee of 4 percent.                            22   year and would come due after one year?
23           What is that?                                  23       A Yes.
24       A That's a fee collected by the loan.              24       Q Was it common for -- around this time,
                                                  Page 66                                                       Page 68
 1       Q So that's a fee that EquityBuild, Inc.,           1   so August of 2017, was it common for Bloomfield
 2   would pay to Bloomfield for the right to borrow         2   Capital to be seeking interest rates of around
 3   this money; is that right?                              3   11 percent for one year loans secured -- pardon
 4       A Yes.                                              4   me -- one year secured loans?
 5       Q In addition to paying interest on the             5       A Yes.
 6   money borrowed, it's got to pay this fee; is that       6       Q After you sent this term sheet to
 7   right?                                                  7   EquityBuild, did you hear anything back from
 8       A Yes.                                              8   EquityBuild about the proposed loans?
 9       Q Okay. And the fee is equal to 4 percent           9       A I don't recall.
10   of the total loan amount?                              10       Q Do you remember having any conversations
11       A Yes.                                             11   after you sent this proposed term sheet to
12       Q On the next page of this exhibit there's         12   EquityBuild with anybody from EquityBuild about the
13   a limitations on loan amount that says that the        13   proposed loan terms?
14   loan shall have a loan to cost ratio of no greater     14       A I don't recall.
15   than 85 percent.                                       15       Q Do you remember having any conversations
16           Do you see that?                               16   with anybody at Bloomfield Capital about the
17       A Yes.                                             17   proposed loan terms?
18       Q Is that the same kind of ratio that we           18       A I don't recall.
19   were talking about earlier about loan -- the value     19              (A document was marked Turzewski
20   of the loan as compared to the cost that the           20               Exhibit No. 5 for
21   borrower has in the property?                          21               identification.)
22       A Yes.                                             22       By Mr. Stein:
23       Q And what does it mean a loan to cost             23       Q Okay. If you can now look at what I've
24   ratio of no greater than 85 percent?                   24   marked as Exhibit 5, an August 22, 2017 email that
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                                                   Page 69                                                    Page 71
 1   you sent to Tyler DeRoo.                                 1   EquityBuild?
 2           Do you see that document?                        2        A I don't recall.
 3       A Yes.                                               3        Q Do you have any recollection as to how
 4       Q Again, this is an email dated August 22,           4   the addition of that fourth address changed the
 5   2017 from you to Tyler DeRoo. The subject is the         5   analysis on the loan?
 6   same as the last one, and the first page of this         6        A I don't recall.
 7   exhibit, Exhibit 5, bears the Bates                      7        Q Looking at the addresses, the new
 8   No. BC570001132.                                         8   address that is included in the revised term sheet
 9           In the email, Mr. Turzewski, you write           9   is 7836 South Shore Drive.
10   to Tyler that attached is the updated term sheet as     10           Do you see that?
11   discussed. Please let us know if you have any           11        A Yes.
12   further questions.                                      12        Q Do you agree that that's the addition --
13           Does this refresh your recollection as          13   the additional address added to the revised term
14   to whether you had any conversations with people at     14   sheet?
15   EquityBuild regarding the proposed terms for the        15        A Yes.
16   loan that was ultimately made by BC57?                  16        Q Okay. Looking again at the revised term
17       A No.                                               17   sheet, it's still proposed that the loan would be
18       Q If you scroll down in this exhibit,               18   guaranteed by Jerome Cohen.
19   there is another version of a Bloomfield Capital        19           Do you see that?
20   term sheet; is that fair to say?                        20        A Yes.
21       A Yes.                                              21        Q And the total loan amount has now gone
22       Q Again, if we go two pages into that, to           22   up; whereas, it was $4.24 million and some change,
23   page 5 of the exhibit, which bears the Bates            23   it is now proposed to be $5.23 million and some
24   No. BC570001136, we get to the document titled term     24   change; is that fair to say?
                                                   Page 70                                                    Page 72
 1   sheet again.                                             1      A Yes.
 2           Do you see that?                                 2      Q Do you know why the loan, the proposed
 3       A Yes.                                               3   loan amount went up between the original and this
 4       Q Now, and again, this is a summary of the           4   revised term sheet?
 5   loan that is being proposed to be made by BC57; is       5      A I don't recall.
 6   that right?                                              6      Q Looking at the breakdown, the total now
 7       A Yes.                                               7   being proposed to be used to refinance the
 8       Q Looking at the property address, there             8   properties is $4,880,000.
 9   are now four addresses listed in the term sheet.         9           Do you see that?
10           Do you see that?                                10      A Yes.
11       A Yes.                                              11      Q And the capital improvement reserve
12       Q And if you want, you should feel free to          12   being held by Bloomfield, that's the lender, is now
13   look back at Exhibit 4. I'm going to be asking you      13   proposed to $145,000.
14   some questions that ask you about changes from the      14           Do you see that?
15   original version of the term sheet to this revised      15      A Yes.
16   version, and if you need to see them both, please       16      Q In the prior loan it was going to be
17   feel free.                                              17   $230,000.
18           Looking, though, at the revised term            18           Do you remember that?
19   sheet that's in Exhibit 5, do you have a                19      A Yes.
20   recollection as to how it is that the fourth            20      Q Do you know why that went down?
21   address got added to the proposed loan?                 21      A I don't recall.
22       A I do not.                                         22      Q And there is a loan/underwriting fee,
23       Q Do you have any recollection as to                23   that's the fee that's being paid to Bloomfield for
24   whether that was proposed by Bloomfield or by           24   the right to borrow the money, correct?
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                                                  Page 73                                                       Page 75
 1       A Yes.                                          1       time, please, Max?
 2       Q And that's still set at 4 percent, but        2          MR. STEIN: Yes. August 22, 2017.
 3   now because of the total loan size is larger, the   3          MR. GALE: August 22nd?
 4   fee is larger; is that right?                       4          MR. STEIN: Yes.
 5       A Yes.                                          5          MR. GALE: I was looking at the last one.
 6       Q It if you look at the next page of the        6       Okay. Thanks.
 7   exhibit, page 2 of the term sheet that bears the    7          By Mr. Stein:
 8   Bates No. BC570001137, the limitations on the loan 8           Q Mr. Turzewski, this is an email from
 9   has now changed such that the loan to cost ratio is 9       Mr. DeRoo to you in which he attaches the executed
10   now to be no greater than 80 percent.              10       term sheet; is that right?
11           Do you see that?                           11          A Yes.
12       A Yes.                                         12          Q What does it mean that the term sheet
13       Q And whose benefit -- I'm sorry, let me       13       was executed?
14   back up.                                           14          A It was signed.
15           In the prior version that was set at       15          Q Does that mean that EquityBuild as the
16   85 percent, right?                                 16       borrower has accepted the proposed terms for the
17       A Yes.                                         17       loan?
18       Q So the limit went down by 5 percent,         18          A Yes.
19   right?                                             19          Q And were there any changes made to the
20       A Yes.                                         20       term sheet that you sent to Mr. DeRoo earlier in
21       Q Does that benefit EquityBuild as the         21       the day before EquityBuild signed the term sheet?
22   borrower or Bloomfield as the lender?              22          A I don't recall.
23       A I don't recall.                              23          Q Do you recall any conversations you had
24       Q Well, if you were -- you as a commercial     24       with anybody from EquityBuild about the change --
                                                  Page 74                                                       Page 76
 1   real estate lender, would you rather have a limit       1   about any changes to the proposed term sheet?
 2   of 85 percent loan to cost or a limit of 80 percent     2      A I don't recall.
 3   loan to cost?                                           3      Q Mr. Turzewski, do you recall that by
 4       A If I was the borrower and I wanted to             4   the time BC57 closed the loan that it made to
 5   borrow the maximum amount of money, I would want a      5   EquityBuild for the properties, that 4611 South
 6   higher loan to cost.                                    6   Drexel was also involved in the deal?
 7       Q And if you were a lender and you wanted           7      A I don't recall.
 8   the most security in the loan -- as much security       8      Q Prior to sending the term sheets to
 9   in the loan as possible, you would want a lower         9   EquityBuild, what would you have to do internally
10   loan to cost, right?                                   10   at Bloomfield to get approval for the proposed loan
11       A Yes.                                             11   terms?
12              (A document was marked Turzewski            12      A The term sheet before it's sent to a
13               Exhibit No. 6 for                          13   borrower it would be approved by -- the sending of
14               identification.)                           14   the term sheet would be approved by our investment
15       By Mr. Stein:                                      15   committee.
16       Q All right. If you could now look at              16      Q When the investment committee approves
17   Exhibit 6. Exhibit 6 is a document dated               17   something like the sending of a term sheet, is that
18   August 22, 2017, and it's an email from Tyler DeRoo    18   memorialized in writing in any way?
19   to you. The first page of Exhibit 6 bears the          19      A I don't recall for this transaction.
20   Bates No. BC570001148.                                 20      Q Is it now required -- memorialized in
21           Do you have that in front of you,              21   writing in any way?
22   Mr. Turzewski?                                         22      A Not for every transaction, no.
23       A Yes.                                             23      Q Once EquityBuild sends out a term sheet
24       MR. GALE: Can you give me the date one more        24   and the term sheet is accepted and signed by the
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                                                    Page 77                                                       Page 79
 1   borrower, is Equity -- pardon me -- is Bloomfield   1             Q When you say underwriting, do you mean
 2   then obligated to make that loan?                   2         checking the value of the real estate?
 3       MR. HART: I'll object to the extent it calls    3             A Yes.
 4   for legal conclusion. You can ask him what his      4             Q And what are you looking for -- what are
 5   understanding is.                                   5         you assessing when you do due diligence? Are you
 6       By Mr. Stein:                                   6         assessing the viability of your loan?
 7       Q In fact that is what I would like to ask      7             A We're assessing that there's sufficient
 8   you is what is your understanding?                  8         collateral for the loan.
 9       A No.                                           9             Q What would determine whether there is or
10       Q Why not to the best of your                  10         is not sufficient collateral for a loan?
11   understanding.                                     11             A The value of the properties.
12       A Because of the parameters that are           12             Q Okay. Were you ever involved in doing a
13   outlined in the term sheet.                        13         background check into Jerome Cohen?
14       Q Okay. After a term sheet is accepted by      14             A I don't recall.
15   a borrower, what happens next on Bloomfield's side 15             Q Do you remember ever doing an
16   for making a loan?                                 16         investigation into or a background check into Shaun
17       A We commence our due diligence on the         17         Cohen?
18   properties.                                        18             A I don't recall.
19       Q Do you do due diligence on properties        19             Q Do you remember doing a background check
20   before you send out a term sheet or only after     20         or an investigation into anybody else at
21   sending out the term sheet?                        21         EquityBuild?
22       A It depends.                                  22             A I don't recall.
23       Q What would it depend on?                     23             Q As part of your due diligence would you
24       A The specific transaction.                    24         generally do an investigation into the borrower?
                                                    Page 78                                                       Page 80
 1       Q And what circumstances in a specific                1      A Yes. Either the lender or legal counsel
 2   transaction would cause Bloomfield to do due              2   would typically obtain that.
 3   diligence on specific property before sending out         3      Q What do you mean by obtain that? What's
 4   the term sheet?                                           4   the that that you're referring to? Sorry.
 5       A If it's requested by the borrower.                  5      A Obtain a litigation search.
 6       Q Okay. Why would a borrower request                  6      Q Anything else that you would do with
 7   that?                                                     7   regard to the borrower to make sure that the
 8       MR. HART: Calls for speculation.                      8   borrower, borrower would be able to repay the
 9       By Mr. Stein:                                         9   loan?
10       Q To the best of your understanding and              10      A My, my role is typically to value the
11   based on your experience as a commercial real            11   underlying real estate collateral and that the
12   estate lender, why would a borrower ask Bloomfield,      12   business plan for the properties and determine with
13   that's a lender, to do due diligence before sending      13   my investment committee if we believe that business
14   another term sheet?                                      14   plan is viable and if my committee believes there's
15       A If they are operating under a compressed           15   sufficient collateral for the loan.
16   timeline and would like us to essentially get a          16      Q In the course of doing that work, how
17   head start on our due diligence.                         17   would you investigate or what role in your
18       Q Okay. Thank you.                                   18   assessment would an assessment of the actual
19           What is involved in due diligence                19   borrower play?
20   generally?                                               20      A I don't -- I don't understand the
21       A Underwriting the real estate properties.           21   question.
22       Q What do you mean but underwriting?                 22      Q Okay. Around in September -- pardon me.
23       A Underwriting the value of the real                 23           In August and September of 2017 did you
24   estate.                                                  24   do any investigating into EquityBuild, Inc., and
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                                                   Page 81                                                   Page 83
 1   whether it would be a viable borrower?                   1      Q All right. Sorry. So that's the one I
 2       A I don't recall.                                    2   inadvertently marked as Exhibit 7. If you now do
 3       Q You mentioned that that would be                   3   the refreshing, Mr. Turzewski, I think you'll find
 4   something that either the lender or counsel would        4   a different Exhibit 7. Ah, technology.
 5   do. Is that what you said?                               5      A Yes, I see it.
 6       A I said that the lender or counsel would            6      Q Okay. Thank you.
 7   run a litigation search. Is that what you're             7           First, how did you pronounce his list
 8   asking me?                                               8   name?
 9       Q Okay. Thank you. No, you clarified.                9      A Onabajo.
10   Thank you.                                              10      Q Onabajo.
11           Do you remember a background check being        11      A Yes.
12   done on Jerry Cohen?                                    12      Q Thank you. What role does Mr. Onabajo
13       A I don't recall.                                   13   play at Bloomfield Capital in August of 2017?
14               (A document was marked Turzewski            14      A He was vice president.
15                 Exhibit No. 7 for                         15      Q Thank you. Is he still with Bloomfield
16                 identification.)                          16   Capital?
17       By Mr. Stein:                                       17      A No.
18       Q Okay. If you could look in the Dropbox            18      Q In the first email in this thread,
19   folder, you should see a document I've marked as        19   Mr. Onabajo asks you whether -- asks you when did
20   Exhibit 8. It is an August 30, 2017 email exchange      20   we close the prior deal with them. I am assuming
21   where the one page of the exhibit bears the Bates       21   we will just rely on that background check if it is
22   No. BC570000994.                                        22   not too old.
23           Do you have that document,                      23           Do you see that?
24   Mr. Turzewski?                                          24      A Yes.
                                                   Page 82                                                   Page 84
 1      A Yes.                                                1       Q Does this refresh your recollection as
 2      Q If you look, this is an email --                    2   to whether you were involved with doing a
 3      MR. HART: Excuse me, this is No. 7? Is this           3   background check on the folks at EquityBuild in
 4   7 or 8?                                                  4   connection with the prior loans made by Bloomfield
 5      MR. STEIN: Oh, you are correct, it should be          5   Capital?
 6   7.                                                       6       A No.
 7      MR. HART: I don't care which it is. See,              7       Q Okay. You respond to Mr. Onabajo by
 8   when we go into the share folder, we don't have the      8   saying that one was done in December and one in
 9   exhibit numbers on them when you refer to them. We       9   January.
10   have to go in by email date. This is Exhibit 7?         10           I believe you're referring to when the
11      MR. KURTZ: David, he's --                            11   prior deals were closed; is that right?
12      MR. STEIN: Yes.                                      12       A Yes.
13      MR. KURTZ: -- been renaming them as they go.         13       Q Does this refresh your recollection as
14   Just refresh the Dropbox, it will show up as the        14   to the timing of those two prior loans that we
15   exhibit label.                                          15   talked about earlier?
16      MR. HART: Okay.                                      16       A Yes.
17      MR. STEIN: Thank you.                                17       Q So at this point would you estimate that
18      By Mr. Stein:                                        18   the first one was indeed done in December of 2016
19      Q We are looking at Exhibit 7, an                    19   and the second one was done in January of 2017?
20   August 30, 2017 email that the most recent email in     20       A Yes.
21   the thread is from you to Dennis Onabajo.               21       Q Okay. You then write that you don't
22           Do you see that?                                22   think we need to order a new one, and say Kas will
23      A No. Exhibit 7 is an email from Jason               23   do an up -- will do updated searches on him.
24   Jarjosa.                                                24           Do you see that?
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                                                  Page 85                                                    Page 87
 1      A Yes.                                               1       A Yes.
 2      Q When you say I don't think we need to              2       Q In this email Mr. DeRoo writes to you
 3   order a new one, you're referring to a background       3   that attached is the current PFS and REO, as well
 4   check; is that right?                                   4   as the CPA letter on the TRs?
 5      A I don't recall.                                    5           Do you see that?
 6      Q The subject of this email exchange is              6       A Yes.
 7   background check, right?                                7       Q What is a PFS?
 8      A Yes.                                               8       A Personal financial statement.
 9      Q And that's what you understood                     9       Q How about an REO?
10   Mr. Onabajo to be asking you about?                    10       A Real estate owned.
11      A Again, I don't recall.                            11       Q And what is -- do you have any idea what
12      Q Okay. The last sentence is Kas will do            12   the reference to the TRs is?
13   updated searches on him.                               13       A I don't recall.
14          Do you see that?                                14       Q Okay. Do you remember receiving this
15      A Yes.                                              15   email from Mr. DeRoo?
16      Q Who is Kas?                                       16       A I don't recall.
17      A Our legal counsel.                                17       Q If you scroll down in the email after
18      Q Is her full name Kasturi Bagchi?                  18   the cover email is a document titled personal
19      A Yes.                                              19   financial statement as of 9/13/2017.
20      Q And when you say she will do updated              20           Do you see that?
21   searches on him, are those the litigation searches     21       A Yes.
22   you were referring to earlier?                         22       Q Do you remember reviewing this document
23      A Yes.                                              23   in connection with the loan ultimately made by
24      Q Do you know if Ms. Bagchi did those               24   BC57 to EquityBuild?
                                                  Page 86                                                    Page 88
 1   updated searches?                                       1       A I don't recall.
 2      A I don't recall.                                    2       Q Would you have expected to review this
 3      Q Do you remember learning anything from             3   document?
 4   the updated searches that might have been done in       4       A I, I don't recall.
 5   connection with the loan made by BC57?                  5       Q In the course of your due diligence work
 6      A I don't recall.                                    6   if a borrower and a guarantor send you a personal
 7      Q Do you remember any issues arising from            7   financial statement, is that something that you
 8   any background checks that were done on EquityBuild     8   would expect you would review?
 9   or Jerry Cohen in connection with the loan made by      9       A Yes.
10   BC57?                                                  10       Q Looking at the personal financial
11      A I don't recall.                                   11   statement here, it appears that it shows total
12              (A document was marked Turzewski            12   assets for Mr. Cohen personally of $26,444,331.
13               Exhibit No. 8 for                          13           Do you see that?
14               identification.)                           14       A Yes.
15      By Mr. Stein:                                       15       Q And it appears to show a net worth for
16      Q Mr. Turzewski, if you could refresh that          16   Mr. Cohen of $25,882.831 -- sorry. Let me try that
17   Dropbox folder, again, I think you should now see a    17   again. Just over 25 million -- $25 1/2 million.
18   document I've marked as Exhibit 8, which will be a     18           Do you see that?
19   September 13, 2017 email exchange or email from        19       A Yes.
20   Tyler DeRoo to you. The subject of which is Jerry      20       Q As you sit here today, knowing that the
21   personal financials. The first page of this            21   ultimate loan made to Bloomfield Capital was
22   document bears the Bates No. BC570001836.              22   approximately $5 million -- no, sorry -- the loan
23          Do you have that document in front of           23   made to EquityBuild was approximately $5 million,
24   you?                                                   24   does this personal financial statement suggest
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                                                 Page 89                                                      Page 91
 1   anything to you about the viability of that loan?    1     documents that follow in the exhibit. The first is
 2       A It suggests that the guarantor on the          2     a release deed for the property with an address on
 3   loan had a net worth, as you said, about             3     Cheltenham Place.
 4   $25 million.                                         4             Do you see that?
 5       Q Would that make the loan more likely to        5         A Yes.
 6   be repaid or less likely to be repaid or have no     6         Q Do you know what a release deed is?
 7   impact on that from an underwriting perspective?     7         A Is it a release of a mortgage?
 8       A We in our underwriting, we look to the         8         Q You're welcome to look at the document.
 9   value of our real estate collateral first, but that  9     I'm just asking you if in general you're familiar
10   doesn't -- doesn't hurt the situation.              10     with the term release -- the document type of a
11       Q All right. Do you know what role, if          11     release deed?
12   any, Mr. Cohen's personal financial statement       12         A I'm familiar with a discharge of
13   played in Bloomfield's underwriting?                13     mortgage, but I'm -- I'm unclear looking at this if
14       A I don't recall.                               14     this is what that is.
15               (A document was marked Turzewski        15         Q Okay. What is a release of mortgage?
16                Exhibit No. 9 for                      16         MR. HART: Objection to the extent it calls
17                identification.)                       17     for a legal conclusion.
18       By Mr. Stein:                                   18         MR. STEIN: And Let me clean that up a little
19       Q Mr. Turzewski, you should see in the          19     bit. Thank you.
20   Dropbox folder what I marked as Exhibit 9. It is a 20          By Mr. Stein:
21   September 11, 2017 email from you to Mr. Jarjosa 21            Q What is your understanding of what a
22   and Mr. Onabajo forwarding Bloomfield payoffs and 22       release of mortgage is?
23   releases. The first page of this document bears     23         A It's a -- it's the release of a mortgage
24   the Bates No. BC570013938.                          24     on a piece of real estate.
                                                 Page 90                                                      Page 92
 1            Do you have that in front of you?             1       Q And is it your understanding that that
 2       A Yes.                                             2   release of mortgage is how it is made clear that
 3       Q Looking at this email it is a thread             3   somebody who has a mortgage lien is releasing that
 4   that begins with an email from Ms. Bagchi to you       4   mortgage lien?
 5   Mr. Onabajo and Maribel Morales.                       5       A Yes.
 6            Do you see that?                              6       Q Okay. If you scroll through this
 7       A Yes.                                             7   exhibit you'll see a few different release
 8       Q Who is Maribel Morales?                          8   documents titled release deed, and then you will
 9       A She's at Lincoln Land Services.                  9   see a few documents titled payoff.
10       Q What is Lincoln Land Services?                  10           Do you see that?
11       A A title agent.                                  11       A Yes.
12       Q Were they the title agent for the loan          12       Q And I'd like you to flip to the first of
13   made by BC57 to EquityBuild?                          13   those payoffs, which is page 11 of the pdf and
14       A Yes.                                            14   bears the Bates No. BC570013948.
15       Q Who selected Lincoln Land Services to be        15           Do you have that document in front of
16   the title agent for this loan?                        16   you, Mr. Turzewski?
17       A I don't recall.                                 17       A Yes.
18       Q Do you know if Bloomfield selected them         18       Q That page I should say?
19   or if EquityBuild selected them?                      19       A Yes.
20       A I, I don't recall.                              20       Q What does this page tell you?
21       Q Do you know why you received these --           21       A It's a payoff letter.
22   this email from Ms. Bagchi?                           22       Q What does it pay off -- in your
23       A I don't recall.                                 23   experience what is a payoff letter?
24       Q Attached to the email are a number of           24       A It specifies the amount needed to pay --
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                                                Page 93                                                      Page 95
 1   to the lender to pay off the loan.                    1       Q I will just pause for a moment to let
 2       Q So this is basically saying that if             2   everybody know that what follows in the rest of
 3   there is an existing loan, this is how much needs     3   this exhibit is a new email that I inadvertently
 4   to be paid to that lender for that lender to be       4   included in this exhibit. I will actually remove
 5   fully repaid for the loan and at which point that     5   that from the exhibit before finalizing it.
 6   lender will then give the release of mortgage that    6            Circling back to those four payoff
 7   we were talking about a few minutes ago; is that      7   letters, Mr. Turzewski, was there any concern at
 8   generally how it would work?                          8   Bloomfield Capital about the fact that its borrower
 9       A Yes.                                            9   was EquityBuild, Inc., and it was receiving these
10       Q Okay. Now, this payoff letter is issued        10   payoff letters from EquityBuild Finance, LLC?
11   by EquityBuild Finance, LLC.                         11       A I don't recall.
12           Do you see that?                             12       Q Do you recall having any conversations
13       A Yes.                                           13   with anybody at Bloomfield Capital regarding the
14       Q That means that EquityBuild Finance, LLC       14   fact that the payoff letters for loans -- for a
15   is the lender that had the existing loan; is that    15   loan that BC57 would ultimately make to
16   your understanding?                                  16   EquityBuild, Inc., were coming from an entity
17       A Yes.                                           17   called EquityBuild Finance, LLC?
18       Q And this particular payoff letter is for       18       A I don't recall.
19   a property located on South Constance Avenue; is     19       Q In your experience at Bloomfield Capital
20   that right?                                          20   does Bloomfield often make loans to borrowers where
21       A Yes.                                           21   the borrower is refinancing a loan that an
22       Q And it shows a payoff amount of 1. --          22   affiliate had made for the property?
23   roughly $1.35 million, right?                        23       A It's not unusual to see borrowers with
24       A Yes.                                           24   existing debt seek -- secured by a mortgage or
                                                Page 94                                                      Page 96
 1       Q Then there is a document in the next          1     unsecured from affiliated entities in my
 2   page, page 12 of the exhibit, BC570013949, that is  2     experience.
 3   another payoff letter again issued by EquityBuild   3         Q Okay. And in those instances is there
 4   Finance, LLC, right?                                4     anything that Bloomfield does to ensure that the
 5       A Yes.                                          5     payoff -- that the existing payoff amounts are
 6       Q This is a payoff letter for 7625 South        6     correct and are going to the proper recipients?
 7   East End in the amount of $1.17 million, right?     7         A I, as you -- as you can see from -- let
 8       A Yes.                                          8     me rephrase.
 9       Q The next one is another payoff letter         9             I don't in my role handle the direct
10   again issued by EquityBuild Finance, LLC, bearing  10     payoff of any loan from any prior lender. That is
11   the Bates No. BC570013950. This one for 7635 South 11     the role of the title company and the escrow
12   East End Avenue in Chicago, right?                 12     officer at the title company in my experience.
13       A Yes.                                         13         Q Okay. And why do you say that in
14       Q And this payoff letter is for $1.217         14     response to that question?
15   million, right?                                    15         A Because that's their role in any
16       A Yes.                                         16     transaction is handling the payoff of any existing
17       Q And lastly, there is another payoff          17     loan that is being paid off as part of a new
18   letter again from EquityBuild Finance, LLC. This   18     transaction, and obtaining and recording any
19   one bearing the Bates No. BC570013951. This is for 19     corresponding, you know, releases of any security
20   the Cheltenham property, right?                    20     interests in the real estate collateral that may
21       A Yes.                                         21     have been released through those payoffs.
22       Q And the payoff on this one is                22         Q So you're saying that you, the lender,
23   $1.158 million; is that right?                     23     are relying on the title insurer to provide those
24       A Yes.                                         24     services to you, right?
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                                                   Page 97                                                       Page 99
 1       A Yes.                                           1       Dropbox folder, I think you should now see -- wait,
 2       Q And in fact, you as the lender --              2       hang on -- a document I have marked as Exhibit 10.
 3   between you and the borrower, somebody is paying 3           It is a September 13, 2017 email from you to Tyler
 4   for those services from the title insurance          4       DeRoo. The first page of the email thread bears
 5   company, right?                                      5       the Bates No. BC570001877.
 6       A Yes.                                           6                Do you see that, Mr. Turzewski?
 7       Q And if something gets screwed up, is it        7            A I see two Exhibit 9s.
 8   your understanding that in those instances where     8            Q So it's the second Exhibit 9, which if
 9   something is screwed up, it is the title insurance   9       you refreshed again would magically become
10   company that is responsible to you as the lender to 10       Exhibit 10.
11   make sure that the mess-up doesn't hurt -- impact 11              A September 13, 2017 email?
12   you as the lender?                                  12            Q Yes.
13       MR. GALE: I object to the extent it calls for   13            A Yes.
14   a legal conclusion.                                 14            MR. GALE: I'm sorry to bother you, Max, but
15       MR. HART: I object to the vagueness of the      15       as you know, I can't access Dropbox directly, so
16   question. Using the word mess-up kind of doesn't 16          I'm going to the ones you sent earlier this
17   allow us to know what you're talking about.         17       morning, that --
18       MR. STEIN: Fair enough.                         18            MR. STEIN: Yes.
19       By Mr. Stein:                                   19            MR. GALE: -- don't have numbers on it. There
20       Q You can answer, Mr. Turzewski.                20       are three different ones that are --
21       A Yes.                                          21            MR. STEIN: Email one. Email one, Todd.
22       Q Thank you.                                    22            MR. GALE: Turzewski email one?
23          Have you ever been involved in a loan        23            MR. STEIN: Yes.
24   that resulted in a claim being made to the title    24            MR. GALE: Okay. That's what I need to know.
                                                   Page 98                                                      Page 100
 1   insurer for that loan?                                   1   Thank you.
 2       A I don't recall.                                    2       MR. STEIN: Yes, no worries.
 3       Q If you look at the payoff letters that             3       By Mr. Stein:
 4   are in Exhibit 9 again, each of them indicates that      4       Q Mr. Turzewski, this is an email that you
 5   the figure is accurate until September 15, 2017.         5   sent on September 13, 2017 to Mr. DeRoo, following
 6           Do you see that?                                 6   up on payoff letters.
 7       A Yes.                                               7           Do you see that?
 8       Q Is that -- what does that mean to you?             8       A Yes.
 9       A The figure -- the total shown there is             9       Q In the email you say thanks for sending
10   through -- is valid until September 15th.               10   the payoff letters. I think we're missing the one
11       Q And so if the loan closes before                  11   for the Constance property.
12   September -- by September 15th, that's the total        12           Do you see that?
13   amount that needs to be paid to pay off the loan;       13       A Yes.
14   is that right?                                          14       Q Then you go on to say also, the payoff
15       A Yes.                                              15   for the four current payoff letters totals
16       Q And if the loan closes after                      16   $4.911 million without the Constance property, as
17   September 15th, in your experience would you expect     17   compared to $4.88 million allocated towards the
18   that that number would change?                          18   payoff/refinance in the term sheet.
19       A Yes.                                              19           Do you see that?
20               (A document was marked Turzewski            20       A Yes.
21                Exhibit No. 10 for                         21       Q What do you understand yourself to have
22                identification.)                           22   meant with those -- with that information regarding
23       By Mr. Stein:                                       23   the amounts of the payoff letters?
24       Q Mr. Turzewski, if you look in the                 24       A The amounts received at that time were
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                                                  Page 101                                                      Page 103
 1   higher than the amount that was included in the      1           Q Did it seem weird to you that
 2   term sheet.                                          2       EquityBuild sent you two payoff letters for the two
 3      Q And why would that be an issue?                 3       East End properties, but now is saying that there
 4      A Because the loan amount in the term             4       really should have just been one payoff letter for
 5   sheet had been arrived at by using a different       5       those two properties?
 6   payoff figure, total payoff figure.                  6           A I don't recall.
 7      Q Okay.                                           7           Q Do you recall doing any investigation
 8               (A document was marked Turzewski         8       into whether it made sense that there would have
 9                Exhibit No. 11 for                      9       been just one payoff letter for the two East End
10                identification.)                       10       properties?
11      By Mr. Stein:                                    11           A I don't recall.
12      Q If you now look at what I am marking as        12                  (A document was marked Turzewski
13   Exhibit 11 -- Todd, this is email 2 from            13                   Exhibit No. 13 for
14   September 13, 2017.                                 14                   identification.)
15      MR. GALE: Thank you, sir.                        15           By Mr. Stein:
16      By Mr. Stein:                                    16           Q Okay. If you would now look in the
17      Q This is an email chain again between you 17             Dropbox, you should see a document I've marked as
18   and Mr. DeRoo regarding the payoff letters in which 18       Exhibit 13. This is a September 15, 2017 email to
19   you clarify that actually the missing payoff letter 19       you from Tyler DeRoo. The subject of which is
20   is Muskegon.                                        20       correct payoffs.
21          Do you see that?                             21               Do you see that?
22      A Yes.                                           22           A Yes.
23      Q Do you have any recollection as how it         23           Q And in the body of the email Mr. DeRoo
24   was that you realized the missing payoff letter was 24       says to you attached for Muskegon and East Ends.
                                                  Page 102                                                      Page 104
 1   for the Muskegon property not for the Constance          1           Do you see that?
 2   property?                                                2       A Yes.
 3       A I don't recall.                                    3       Q Then if you look at the second page of
 4       Q Okay. Then hang on just one second.                4   the exhibit, which bears the Bates
 5               (A document was marked Turzewski             5   No. BC570001990, there is a payoff letter from
 6                Exhibit No. 12 for                          6   EquityBuild Finance; is that right?
 7                identification.)                            7       A Yes.
 8       By Mr. Stein:                                        8       Q This payoff letter is for Muskegon and
 9       Q Okay. Then in exhibit -- now, in                   9   shows the payoff amount of $1,177,800.
10   Exhibit 12 in the Dropbox, which is email three         10           Do you see that?
11   from September 13th, there is a further follow up       11       A Yes.
12   on this same email thread.                              12       Q And then if you look at the next page of
13           After you write -- if you look at the           13   the exhibit, the third page of the exhibit bears
14   first page of Exhibit 12, in the middle of the page     14   the Bates No. BC570001991. This is a payoff letter
15   you'll see that Mr. DeRoo writes to you that he         15   again from EquityBuild Finance, LLC. This time for
16   thinks the payoff on East End is mislabeled. He         16   7625 to 35 South East End.
17   believes there should only be one for the two           17           Do you see that?
18   buildings and then the other one would be Muskegon.     18       A Yes.
19           Do you see that?                                19       Q This shows a payoff of $1,217,562.50.
20       A Yes.                                              20           Do you see that?
21       Q You write back to him, okay, please look          21       A Yes.
22   into and revise if necessary.                           22       Q Now, if you would go -- if you would
23           Do you see that?                                23   like, you're welcome to compare this letter to the
24       A Yes.                                              24   payoff letters in Exhibit 9, and in particular the
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                                                  Page 105                                                    Page 107
 1   payoff letter that appears on page 13 of Exhibit 9       1   received them, right?
 2   at BCS -- No. BC570013950.                               2      A Yes.
 3            Is it right that those two payoff               3              (A document was marked Turzewski
 4   letters are for the same amount of money?                4               Exhibit No. 14 for
 5       A Sorry, I'm trying to bring it up.                  5               identification.)
 6            Yes.                                            6      By Mr. Stein:
 7       Q But they are for different addresses,              7      Q Mr. Turzewski, in the Dropbox you should
 8   right, because the address shown on that, on the         8   now see a document that's been marked as
 9   payoff letter in Exhibit 9 is 7635 -- wait. I just       9   Exhibit 14. It is a September 25th, email -- email
10   messed this up. Did I just confuse myself? One          10   one, Todd -- from Ms. Bagchi. Well, it's an email
11   moment. No, I did not. Sorry.                           11   thread dated September 25, 2017.
12            In Exhibit 9, the address shown on the         12          Do you see that in front of you,
13   payoff letter is 7635 South East End; is that           13   Mr. Turzewski?
14   right?                                                  14      A Yes.
15       A Yes.                                              15      Q There is an email there from Ms. Bagchi
16       Q And in Exhibit 13, the address shown is           16   sent to Ms. Morales, a Kristen Cristia, and
17   7625 to 35 South East End; is that right?               17   yourself with other folks copied. Do you see that?
18       A Yes.                                              18   And the subject of that email is Bloomfield payoffs
19       Q Do you remember reviewing this at all at          19   updated.
20   the time that you received this corrected payoff        20          Do you see that?
21   letter to determine if this made the corrections        21      A Yes.
22   that you needed it to make?                             22      Q Ms. Bagchi in the email asks are these
23       A I don't recall.                                   23   satisfactory to you.
24       Q Now, if you look back at Exhibit 13               24          Do you see that?
                                                  Page 106                                                    Page 108
 1   again, the payoff letter for the Muskegon property       1      A Yes.
 2   is for $1,177,312.50 -- pardon me -- $1,177,800; is      2      Q Do you have an understanding as to who
 3   that right?                                              3   the you there is? Did it include -- and in
 4       A Yes.                                               4   particular, did it include you?
 5       Q But if you look back at Exhibit 9, the             5      MR. HART: You're asking -- you're asking what
 6   payoff letter for 7625 South East End, which             6   he thinks that Kas Bagchi intended?
 7   Mr. DeRoo had suggested was mislabeled, is for           7      MR. STEIN: I'm asking if he has an
 8   close to but not exactly the same amount of money,       8   understanding as to what Kas Bagchi, if she was
 9   right, $1,177,312.50?                                    9   asking -- and in particular if she was asking him,
10       A Yes.                                              10   Matt Turzewski, if these were satisfactory.
11       Q Did you ever do anything -- did that              11      By Mr. Stein:
12   discrepancy cause you to do anything to investigate     12      Q Mr. Turzewski, do you have an
13   whether these corrected payoff letters were             13   understanding?
14   providing you with accurate information?                14      A I don't recall.
15       A I don't recall.                                   15      Q Okay. If you scroll down in this
16       Q Looking again at Exhibit 13, which is an          16   exhibit, there are four payoff letters.
17   email you received on September 15th, both of those     17           Do you see that?
18   payoff letters are like the prior payoff letters        18      A Yes.
19   indicated as being good through September 15, 2017;     19      Q And the four payoff letters are for four
20   is that right?                                          20   properties that we now believe should have had
21       A Yes.                                              21   payoff letters, the Cheltenham property, one for
22       Q That means in order for these payoff              22   the two East End properties, one for the Constance
23   amounts to be the correct payoff amounts, you would     23   property, and one for the Muskegon property; is
24   have had to have closed the loan the day you            24   that right?
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                                                  Page 109                                                   Page 111
 1       A Yes.                                               1       Q Do you remember reviewing the payoff
 2       Q If we look at the first one, first                 2   letters that are attached as part of Exhibit 14 as
 3   payoff letter, which is page 3 of Exhibit 14, this       3   you were working on the loan that was ultimately
 4   is the payoff letter for the Cheltenham property,        4   made by BC57?
 5   right?                                                   5       A I don't recall.
 6       A Yes.                                               6       Q Do you remember ever communicating to
 7       Q And the payoff amount is $1,167,250,               7   anybody involved in the loan that the payoff
 8   right?                                                   8   letters and that the releases were acceptable to
 9       A Yes.                                               9   you?
10       Q That's the same amount that was in the            10       A I don't recall.
11   last payoff letter for this property, right?            11       Q Do you remember doing anything to check
12       A I don't have the other exhibit open.              12   that Bloomfield had received payoff amounts and
13       Q Sure. If you go back to Exhibit 9 --              13   releases of liens that were acceptable to the title
14   actually, no, it's not, it has changed.                 14   insurer for the loan that was ultimately made by
15           If you look at -- let's go back to              15   BC57?
16   Exhibit 14. We are looking at the payoff letter         16       A I don't recall.
17   for the Cheltenham property.                            17       Q In the course of your due diligence,
18           That's also sometimes referred to as the        18   Mr. Turzewski, did you do anything to evaluate the
19   South Shore property; is that right?                    19   existing mortgages on the properties that were
20       A I don't recall.                                   20   ultimately the subject of the loan made by BC57?
21       Q Let's look at the second payoff letter            21       A I don't recall.
22   in Exhibit 14, which is the fourth page of              22       Q Do you remember ever looking at the
23   Exhibit 14, the payoff letter for the Muskegon          23   actual recorded mortgages that were on the
24   property. The payoff amount is $1,185,600.              24   properties prior to the loan made by BC57?
                                                  Page 110                                                   Page 112
 1          Do you see that?                                  1       A I don't recall.
 2       A Yes.                                               2       Q Do you remember ever looking at the
 3       Q And this is shown as being the payoff              3   documents that would have been signed by the
 4   amount through September 30, 2017; is that right?        4   lenders on those existing mortgages?
 5       A Yes.                                               5       A I don't recall.
 6       Q If you go back to Exhibit 13, is the               6       Q Do you know what a collateral agency and
 7   amount in the payoff for the Muskegon property in        7   servicing agreement is?
 8   Exhibit 13 the same or different than the amount in      8       A No.
 9   the payoff letter in Exhibit 14?                         9       Q Do you have any experience with
10       A Different.                                        10   collateral agency and servicing agreements in the
11       Q And does that make sense to you?                  11   course of your work as a commercial real estate
12       A Yes, because the payoff letter for                12   lender?
13   Muskegon in Exhibit 14 has another 15 days of           13       A No.
14   interest.                                               14       Q Do you have any recollection of ever
15       Q Okay. So if we look now at Exhibit 14             15   reviewing a collateral agency and servicing
16   and the payoff letter for the East End properties,      16   agreement?
17   and compare that with the payoff letter in              17       A Not that I recall.
18   Exhibit 13 for the East End properties --               18       Q In the course of your work on due
19       A Yes.                                              19   diligence for loans, do you ever review comments
20       Q -- are those different as well?                   20   that are provided on title insurance policies?
21       A For East End, yes.                                21       A Not that I recall.
22       Q And again, what would be your expla --            22       Q Ultimately Bloomfield Capital chose to
23   does that make sense to you?                            23   make the loan on these properties; is that right?
24       A Yes.                                              24       A Yes.
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                                               Page 113                                                    Page 115
 1       Q What were -- why was this a good loan         1         Q Okay. I'm going to ask you to look in
 2   for Bloomfield to make?                             2    the Dropbox for a document I am about to mark as
 3       A We -- Bloomfield is in the business of        3    Exhibit 15.
 4   making loans such as this on -- secured by          4                 (A document was marked Turzewski
 5   commercial real estate assets, including apartment 5                   Exhibit No. 15 for
 6   buildings like this, so it fits with our business   6                  identification.)
 7   model.                                              7         MR. STEIN: Todd, this is one I did not put in
 8       Q Did you believe that Bloomfield would         8    the Dropbox earlier. I apologize. So you won't be
 9   make a good return on this loan?                    9    able to access it. If you'd like, I can share the
10       A Yes.                                         10    screen so you can see it.
11       Q Was determining that part of your            11         By Mr. Stein:
12   underwriting and due diligence effort?             12         Q But Mr. Turzewski, you should see in the
13       A Determining what?                            13    Dropbox folder a document marked as Exhibit 15 that
14       Q Whether Bloomfield would make a good         14    is a September 27, 2017 email from Tyler DeRoo that
15   return on the loan?                                15    has -- says executed attached, and then attached to
16       A The economics of our loans, the interest     16    it is a borrower statement.
17   rate, the origination fee points, those are set by 17             Can you see that document?
18   my credit committee.                               18         MR. GALE: Does it have Bates numbers on it,
19       Q And so what you would determine is what 19         Max?
20   the -- what those would be, and then the investment20         MR. STEIN: No, but it was one -- it was one
21   committee would determine if those are             21    of the ones in the multi-page pdf used for the
22   acceptable?                                        22    Bagchi deposition, and it's Bagchi 130.
23       A No. Those are determined by the              23         MR. GALE: Oh, okay. I got that someplace
24   investment committee.                              24    here. I'll find it. Okay. Thanks, Max, I
                                               Page 114                                                    Page 116
 1       Q Okay. And what do they use to determine 1          appreciate that.
 2   those things?                                        2       MR. STEIN: Yes.
 3       MR. HART: That calls for speculation.            3       By Mr. Stein:
 4       By Mr. Stein:                                    4       Q Do you have that document,
 5       Q To the best of your understanding, what        5   Mr. Turzewski?
 6   does the investment committee use to determine       6       A I do not. I refreshed but I only see
 7   those things?                                        7   Exhibit 14.
 8       A Just the general facts of the                  8       MR. HART: I don't see it on mine either.
 9   transaction. What's the loan to value, the amount    9   What's the Bagchi number again, please?
10   of construction that will be ongoing during the     10       MR. STEIN: 130.
11   term of the loan.                                   11       THE WITNESS: I'm sorry, I still only see
12       Q When Bloomfield made this loan, it            12   Exhibit 14.
13   received the loan -- the payments that we looked at 13       By Mr. Stein:
14   earlier in the term sheet of the deal points; is    14       Q Yes. It looks like it's -- it looks
15   that right?                                         15   like I'm having an internet hiccup on my end.
16       A I'm sorry, can you repeat the question?       16       A I see it now.
17   Can you repeat the question?                        17       Q Okay. Good. Thank you.
18       Q Yes. When Bloomfield made this loan, it 18                 And what I would like you to do,
19   received the deal points that we saw indicated, the 19   Mr. Turzewski, is if you could scroll to the second
20   4 percent deal points on the loan; is that right?   20   page of the exhibit, the first page of the
21       A That was included in the loan, yes.           21   borrower's statement, under new loan charges.
22       Q And that was money that was actually          22           Do you see that there is something
23   paid to Bloomfield for making the loan, right?      23   called loan points?
24       A Yes.                                          24       A Yes.
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                                                  Page 117                                                      Page 119
 1       Q And it shows an amount of $213,137.34;             1   Mr. Turzewski?
 2   is that right?                                           2       A No.
 3       A Yes.                                               3       Q Are you aware that BC57 has made a claim
 4       Q Is that how much was paid to Bloomfield            4   in this receivership?
 5   at the time that BC57 made this loan for these           5       A Yes.
 6   properties owned by EquityBuild?                         6       Q Did you play any role in preparing that
 7       A Those were the points charged to the               7   claim to your knowledge?
 8   borrower.                                                8       A No.
 9       Q And those points, the charge -- pardon             9       Q Do you know if BC57 has made a claim to
10   me.                                                     10   the title insurer for the loan that BC57 made to
11           Those points were charged to the                11   EquityBuild on the properties we've been discussing
12   borrower and paid to Bloomfield Capital, right?         12   today?
13       A Or an affiliated entity, yes.                     13       A I do not.
14       Q Okay. BC57 in particular, right?                  14       Q Did you ever receive solicitation emails
15       A Yes.                                              15   from EquityBuild?
16       Q Okay. Thank you.                                  16       A I don't recall.
17               (A document was marked Turzewski            17                (A document was marked Turzewski
18                Exhibit No. 16 for                         18                 Exhibit No. 17 for
19                identification.)                           19                 identification.)
20       By Mr. Stein:                                       20       By Mr. Stein:
21       Q Mr. Turzewski, I've marked a document as          21       Q If you would look in the Dropbox,
22   Exhibit 16 that hopefully you will see in the           22   Mr. Turzewski, there should be a document that's
23   Dropbox folder. It is an email dated October 2,         23   been marked as Exhibit 17. It is a July 31, 2017
24   2017, from Stacy Long to you. The subject of which      24   email from Shaun Cohen sent to Jason Jarjosa. The
                                                  Page 118                                                      Page 120
 1   is IL Cohen III.                                   1         first page of which bears the Bates
 2           Do you see that?                           2         No. BC570015233.
 3       A Yes.                                         3                 Do you have that document,
 4       Q This is an email thread between you and      4         Mr. Turzewski?
 5   Stacy Long at Bloomfield Capital and then attached 5             A I do, but would it be possible for me to
 6   as the third page of the exhibit is an invoice.    6         grab my laptop charger?
 7           Do you see that?                           7             Q Of course. Of course.
 8       A Yes.                                         8             A Thank you.
 9       Q What is that invoice for?                    9             MR. STEIN: We'll go off the record.
10       A It appears to be for the interest on the    10             MR. HART: Can you give me that date again?
11   loan from September 27th to October 31st --       11             MR. STEIN: Yes. July 31, 2017.
12       Q If Bloomfield Capital --                    12             MR. HART: Now give me the Bates stamp again,
13       A -- 2017.                                    13         please?
14       Q I'm sorry. I think you -- I spoke over      14             MR. STEIN: BC570015233.
15   you, so I think you said for 2017?                15             MR. HART: I got it.
16       A Yes.                                        16                     (A brief interruption was had.)
17       Q Did Bloomfield Capital to your knowledge 17                By Mr. Stein:
18   regularly prepare invoices that it sent to        18             Q Mr. Turzewski, I was asking you to look
19   EquityBuild for the loan made by BC57?            19         at a document I've marked Exhibit 17. It is a
20       A Yes.                                        20         July 31, 2017 email from Shaun Cohen.
21       Q And did those go out every month?           21                 Do you have that in front of you?
22       A To my knowledge, yes.                       22             A Yes.
23       Q Are you familiar with the claim that        23             Q In this email Mr. Cohen says to
24   BC57 has made in this receivership,               24         Mr. Jarjosa, Jason, would you have interest in me
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                                                 Page 121                                                     Page 123
 1   doing all the work for you on a real estate             1   documents?
 2   investment that's slated to earn $2 for every           2       MR. STEIN: Yes.
 3   dollar you invest?                                      3       MR. HART: November 3, 2017?
 4           Do you see that?                                4       MR. STEIN: Yes.
 5       A Yes.                                              5       MR. HART: Oh, I got it. Okay. Thanks.
 6       Q Do you ever recall receiving                      6       MR. STEIN: Yep.
 7   solicitation emails like this from EquityBuild?         7       By Mr. Stein:
 8       A I don't recall.                                   8       Q In this email, Ms. Gunning forwards an
 9       Q Do you often receive solicitation emails          9   email from Tyler DeRoo, the subject which is 4611
10   from potential borrowers looking to borrow money       10   Drexel refi.
11   from Bloomfield Capital?                               11           Do you see that?
12       A I've seen a lot of emails from a lot of          12       A Yes.
13   people.                                                13       Q Do you know why you received this email
14       Q Do they include solicitations from               14   from Ms. Gunning?
15   potential borrowers?                                   15       A I don't recall.
16       A I guess it depends how you define                16       Q And do you know if the 4611 Drexel
17   potential borrowers. That is a pretty broad term.      17   building did indeed refinance around this time;
18       Q Is this the kind of email you would              18   that is, November of 2017?
19   expect to receive from a borrower of Bloomfield        19       A I don't recall.
20   Capital?                                               20       Q I asked you earlier about whether you
21       A To invest equity in one of their                 21   knew what, if any, role the 4611 Drexel property
22   transactions?                                          22   played in the loan paid by BC57.
23       Q An email that's suggesting that they             23           Does this refresh your recollection at
24   will do all of the work and you as the lender would    24   all as to whether it did play any role in that
                                                 Page 122                                                     Page 124
 1   get or investor would get $2 for every dollar you       1   loan?
 2   invest?                                                 2       A It does not.
 3       A I mean, I get a lot of solicitations for          3       Q I believe that is all I have for right
 4   different real estate investments. All of them are      4   now. Some of the other lawyers may have some
 5   at different, different return --                       5   questions for you, but I thank you for your
 6       Q Do you get many solicitations offered --          6   cooperation and your patience.
 7               (Reporter interruption.)                    7       MS. QUALLS: Thanks. This is Alyssa Qualls
 8       THE WITNESS: I believe it was thresholds.           8   from the Securities and Exchange Commission. I
 9       By Mr. Stein:                                       9   have a few questions. Just to -- can we go off the
10       Q Do you have many solicitations that are          10   record for a second to ask about this Baker
11   offering a two to one return?                          11   deposition?
12       A I don't recall.                                  12               (A discussion was had off the
13       Q Give me just one minute.                         13                record.)
14               (A document was marked Turzewski           14                 EXAMINATION
15                Exhibit No. 18 for                        15       By Ms. Qualls:
16                identification.)                          16       Q My name is Alyssa Qualls. I'm an
17       By Mr. Stein:                                      17   attorney for the Securities and Exchange Commission
18       Q In the Dropbox now, Mr. Turzewski, you           18   and I just have a few questions for you,
19   should see a document that's been marked as            19   Mr. Turzewski. And I think some of this was
20   Exhibit 18. It is a November 3, 2017 email from        20   touched on in your prior testimony.
21   Marie Gunning to Mr. Jarjosa with you copied on it.    21           But what is title insurance to the best
22           Do you see that?                               22   of your understanding?
23       A Yes.                                             23       A Title insurance for the loan is
24       MR. HART: Was it part of the original              24   insurance for the loan in the event of a, you know,
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                                                  Page 125                                                    Page 127
 1   insured loss under the -- under the policy.              1      By Ms. Qualls:
 2       Q And what would be an insured loss to               2      Q So if it turns out that the title
 3   your understanding?                                      3   insurance company got it wrong and BC57 indeed did
 4       A I don't -- I don't know.                           4   not have a first lien position on these five
 5       Q Well, okay. In making this loan to                 5   properties, the insurance would protect BC57 based
 6   EquityBuild, did BC57 want to be in a first lien         6   on the extent of their loss; is that right?
 7   position on the loan?                                    7      MR. HART: I'm going --
 8       A Yes.                                               8      MR. GALE: Yes, I'm going to object both to
 9       Q Okay. And did -- and you were aware,               9   the extent it calls for legal conclusion and also
10   weren't you, that there was the preexisting lender      10   that it's vague and ambiguous, to the extent that
11   for these five properties, right?                       11   you're talking about if the title company made a
12       A Yes.                                              12   mistake.
13       Q And did you have any understanding as to          13      MS. QUALLS: Did I say mistake? Let me try to
14   whether those -- that lender or those lenders for       14   ask it another way.
15   the same five properties, were they already in a        15      By Ms. Qualls:
16   first lien position on the properties?                  16      Q So, well, if it turns out that BC57 did
17       A Yes.                                              17   not have a first lien position as it wanted, would
18       Q Okay. So one of the things that I think           18   the title insurance policy pay BC57 to make it
19   you mentioned in your testimony about the amount of     19   whole to the best of your understanding?
20   the payoff and the releases, you wanted -- one of       20      MR. GALE: Same objection. Also calls for
21   the things you wanted to do was to make sure that       21   speculation.
22   the preexisting lenders got paid off and that they      22      THE WITNESS: Yes.
23   released their mortgages, right?                        23      By Ms. Qualls:
24       A As you said, a requirement of our loan            24      Q Yes. Okay. And what's the reason that
                                                  Page 126                                                    Page 128
 1   was to be in a first -- first lien position.             1   BC57 wanted to be in a first lien position on these
 2       Q Right. And to be in a first lien                   2   loans or the loan?
 3   position, no one else could be in a first lien           3       A That was the requirement of my
 4   position; is that right?                                 4   investment committee to make the loan.
 5       A Yes.                                               5       Q Did they tell you why they wanted to do
 6       Q So one of the things that the title                6   that -- to have that?
 7   insurance, is it fair to say that that -- to your        7       A Not specifically. The majority of the
 8   understanding, it was insuring that BC57 would be        8   loans that we make are first position.
 9   in that first lien position on these five                9       Q And what is your understanding of what
10   properties?                                             10   first position means?
11       MR. GALE: I'll object to the extent you're          11       A Senior, senior loan, senior security.
12   calling for a legal conclusion, but you can answer      12       Q Does that mean senior loan, does that
13   to the best of your understanding, sir.                 13   mean that you'd get -- you would be the first one
14       THE WITNESS: Yes.                                   14   to get paid if there was a problem?
15       By Ms. Qualls:                                      15       A Yes.
16       Q Okay. And the purpose of the title                16       Q And I think there was some discussion of
17   insurance is that -- let me withdraw that.              17   due diligence the different parties to this
18            Is it fair to say that to the best of          18   transaction did.
19   your understanding that if there's a problem with       19            Do you have an understanding of what due
20   the title to the security interest of the mortgage,     20   diligence the title insurer is supposed to do on a
21   that BC57 will still get paid?                          21   deal like this?
22       MR. GALE: I'll make the same objection to the       22       A Not specifically, no.
23   extent you're asking for a legal conclusion.            23       Q Okay. I think you -- is it fair to say
24       THE WITNESS: Yes.                                   24   that you pointed to the payoff letters and the
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                                                Page 129                                                    Page 131
 1   releases as something that -- making sure those        1       A Yes.
 2   were accurate with something in their bailiwick or     2       Q Okay. And do you see down about eight
 3   their responsibility?                                  3   lines, I believe, and I'll highlight these.
 4       A Yes.                                             4       A Yes.
 5       MS. QUALLS: Okay. I don't have any further         5       Q Maybe I will. There we go. No.
 6   questions. I'll pass the witness.                      6            Okay. Do you see it listing the
 7                  EXAMINATION                             7   property addresses that are involved in the loan
 8       By Ms. Wine:                                       8   that we've been talking about today?
 9       Q Hello, Mr. Turzewski. My name is Jodi            9       A Yes.
10   Wine and I'm representing Ken Duff, who is the        10       Q I am sorry, I'm trying to highlight
11   receiver in the federal litigation.                   11   them, but I'm not technologically capable
12           I just want to ask you a few questions        12   apparently. So let me see if I can blow it up just
13   about some of the exhibits that have already been     13   a little bit.
14   marked, and I'm wondering if you still have access    14            Okay. And is EquityBuild or Mr. Cohen
15   to those. If I give you an exhibit number, if         15   personally providing you with information about the
16   you're going to be able to open it?                   16   properties that are proposed to be secured by
17       A Yes, I believe so.                              17   Bloomfield Capital's loan?
18       Q Okay. So why don't you turn to                  18       A Is he personally providing information?
19   Exhibit 8, please, and this is a September 13th       19       Q Strike my question and I'll ask that
20   email from Tyler DeRoo and EquityBuild to you?        20   question.
21       A Yes.                                            21            Is this information that Mr. Cohen,
22       Q Okay. And he is attaching the personal          22   Jerry Cohen, personally provided to Bloomfield
23   financial statement and schedule of real estate       23   Capital?
24   owned?                                                24       A I, I don't recall.
                                                Page 130                                                    Page 132
 1       A Yes.                                             1       Q Let's go back to page -- okay. Do you
 2       Q Did you request him to send that                 2   see page 2 of Exhibit 8?
 3   information to you?                                    3       A Yes.
 4       A I don't recall.                                  4       Q And this is the personal financial
 5       Q Is that something you typically ask of           5   statement of Jerry Cohen?
 6   potential borrowers?                                   6       A Yes.
 7       A Yes.                                             7       Q And did Jerry Cohen -- who provided
 8       Q And why?                                         8   Bloomfield Capital with this personal financial
 9       A In order to evaluate the guarantor, who          9   statement?
10   in this case was Jerry Cohen.                         10       A I don't recall.
11       Q Okay. And was this something that he            11       Q Did you understand it to be information
12   was required to provide to you?                       12   regarding Jerry Cohen, the guarantor on the loan?
13       A Yes.                                            13       A Yes.
14       Q If you look at the schedule of the real         14       Q And do you see under assets, the listing
15   estate owned, and maybe it would be better to put     15   for partial interest in real estate equities?
16   this on the screen so we could blow it up a little    16       A Yes.
17   bit. Give me one second.                              17       Q And it indicates see SREO?
18           Okay. Do you see that there are               18       A Yes.
19   included in the schedule --                           19       Q Do you understand SREO to mean schedule
20       MR. GALE: I don't see your screen. Are you        20   of real estate owned?
21   sharing it with us?                                   21       A Yes.
22       MS. WINE: I can share the screen.                 22       Q Going back to page 5 of this document,
23       By Ms. Wine:                                      23   is this the schedule of real estate owned?
24       Q Okay. Are you able to see my screen?            24       A That appears to be the case, yes.
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                                                  Page 133                                                     Page 135
 1       Q Okay. So this is information regarding             1       Q And for 7201 South Constance Avenue in
 2   the real estate owned by Mr. Jerry Cohen or              2   Chicago, Mr. Cohen represented to Bloomfield his
 3   partially owned by Mr. Jerry Cohen, correct?             3   equity was $2,535,000?
 4       A Yes.                                               4       A Yes.
 5       Q Okay. And the properties that are going            5       Q Okay. And those amounts are part of the
 6   to be secured by the loan that Mr. Cohen is              6   total equity that Mr. Cohen is representing he had
 7   applying for or EquityBuild, his company is              7   in real estate?
 8   applying for is listed on the schedule of real           8       A Yes.
 9   estate owned, correct?                                   9       Q As of August 3, 2017?
10       A Yes.                                              10       A Yes.
11       Q And it includes the date that the                 11       Q And this document was provided to you on
12   properties were purchased?                              12   August -- sorry, on September 13th of 2017,
13       A Yes.                                              13   correct?
14       Q And it includes the purchase price?               14       A Yes.
15       A Does it? I don't see that.                        15       Q Did you rely on the information provided
16       Q Oh, it may not include the purchase               16   by Mr. Cohen in his personal financial statement
17   price. It includes the total debt on the property.      17   and schedule of real estate owned?
18   The second column shows the debt on the property?       18       A Yes.
19       A Yes.                                              19       Q All right. I want to now turn your
20       Q Did you ever do anything to confirm that          20   attention to Exhibit 9.
21   the debt showing on this financial schedule of real     21           Can you tell me if that changed on the
22   estate owned as of August 3, 2017 was the same debt     22   screen and you can now see Exhibit 9?
23   on the payoff letters that you received?                23       A Yes.
24       A I don't recall.                                   24       Q Okay. Mr. Stein confirmed that this
                                                  Page 134                                                     Page 136
 1       Q If you'll go further over, do you see a            1   Exhibit 9 is an email that you sent to Jason
 2   column toward the right of the page marked sponsor       2   Jarjosa and Dennis Onabajo on September 11, 2017,
 3   equity?                                                  3   correct?
 4       A Yes.                                               4       A Yes.
 5       Q What do you understand that to mean?               5       Q Why were you sending this to them on
 6       A I understand that to mean Jerry Cohen's            6   that date?
 7   equity.                                                  7       A I don't recall.
 8       Q Jerry Cohen's equity in each of the                8       Q Do you know whether you intended them to
 9   properties listed on his schedule of real estate         9   review the releases that you attached to the
10   owned as of August 3, 2017?                             10   email?
11       A Yes.                                              11       A I don't recall.
12       Q Okay. And for the properties involved             12       Q Did you ever have any discussions with
13   in this case, do you see for the 7836 South Shore       13   them about the releases and payoff letters attached
14   Drive, Mr. Cohen is representing he has equity of       14   to this email?
15   $1,115,561?                                             15       A I don't recall.
16       A Yes.                                              16       Q Do you know if either of them responded
17       Q And for 7625 through 35 South East End            17   to you after you sent this email?
18   Avenue, he's representing he has equity of              18       A I don't recall.
19   $1,706,849?                                             19       Q I'm sorry if Mr. Stein already asked you
20       A Yes.                                              20   these questions, but did you review the attachments
21       Q For 7750 South Muskegon Avenue in                 21   to the email that you received from Ms. Bagchi and
22   Chicago, there is equity -- his equity he's             22   forwarded to Mr. Jarjosa and Mr. Onabajo?
23   representing is $1,102,978?                             23       A I don't recall.
24       A Yes.                                              24       Q Do you recall Ms. Bagchi asking Maribel
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                                                   Page 137                                                     Page 139
 1   Morales to let her know from a title perspective if       1      A I don't recall.
 2   these draft releases were satisfactory?                   2      Q Do you know if anyone at Bloomfield
 3       A I don't recall.                                     3   Capital did anything to determine who the 7201
 4       Q Do you recall ever hearing from                     4   South Constance investors were?
 5   Ms. Maribel on that question?                             5      A I don't recall.
 6       A I don't recall.                                     6      Q Okay. If I ask the same questions about
 7       Q Did you have any understanding whether              7   the other payoffs, we'll start with this one from
 8   the title company believed the releases were              8   the 7625 South East End investors, on page 12 of
 9   satisfactory from a title perspective?                    9   Exhibit 9, would your answer be the same that you
10       A I don't recall.                                    10   don't recall doing anything to determine who those
11       Q Do you see on the draft releases at                11   investors were?
12   page 3 of Exhibit 9 that it's a release of the           12      A Yes.
13   property at 3074 East Cheltenham Place?                  13      Q And would your answer be the same that
14       A Yes.                                               14   you don't recall whether Bloomfield Capital did
15       Q And who was the person signing this                15   anything to determine who those investors were?
16   release or intended to be signing this release           16      A Yes.
17   based on the draft that's before us?                     17      Q Would that be your same answer regarding
18       A Based on this draft, that appears to be            18   the other payoff letters?
19   Jerry Cohen.                                             19      A Yes.
20       Q And did you know whether Jerry Cohen was           20      Q Now, page 12 of Exhibit 9 has a payoff
21   the individual who signed the releases releasing         21   amount of unpaid principal balance. Let's focus on
22   the mortgages in the final loan package?                 22   that. It shows the unpaid principal balance for
23       A I don't recall.                                    23   the property at 7625 South East End to be
24       Q Do you recall any discussions about                24   $1,170,000.
                                                   Page 138                                                     Page 140
 1   whether it would be appropriate for Jerry Cohen to        1           Do you see that?
 2   sign the releases?                                        2       A Yes.
 3        A I don't recall.                                    3       Q And on the following page there is a
 4        Q You don't recall discussing that with              4   payoff letter for 7635 South East End, which shows
 5   anyone at the title company?                              5   an unpaid principal balance of $1,210,000.
 6        A I don't recall.                                    6           Do you see that?
 7        Q Do you recall discussing that with                 7       A Yes.
 8   anyone at EquityBuild?                                    8       MR. HART: We're I think beyond three hours
 9        A I don't recall.                                    9   now. Can you give me an idea of what you're hoping
10        Q I'm going to a payoff letter that I               10   to do?
11   believe is attached here. Look at page 11 of             11       MS. WINE: I would say I'm halfway through
12   Exhibit 9.                                               12   what I was planning to do.
13            Do you see this is a payoff letter for          13       MR. HART: You know, there was a lot of
14   7201 South Constance Avenue?                             14   negotiation and litigation over these depositions
15        A Yes.                                              15   and how long they would be allowed to go, and I
16        Q And who does this payoff letter indicate          16   think there's a three hour limit on them, so I'd
17   it's from?                                               17   encourage you to --
18        A 7201 South Constance Investors, care of           18               (Reporter interruption.)
19   EquityBuild Finance, LLC.                                19       MR. HART: I would encourage you to be quick
20        Q Okay. And who are the 7201 South                  20   and end soon, particularly in light of the fact
21   Constance investors?                                     21   that most of what you've asked him he's already
22        A I don't recall.                                   22   answered.
23        Q Did you do anything to determine who the          23       MS. WINE: Okay. I will do my best. Thank
24   7201 South Constance investors were?                     24   you.
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                                                  Page 141                                                      Page 143
 1       By Ms. Wine:                                         1   nothing to do with.
 2       Q I'm going to show you now Exhibit 10.              2       MS. WINE: No. I'm asking whether the payoff
 3   Do you recall being asked about your comment on          3   statement that he sent to his superiors at
 4   Exhibit 10, which is an email to Tyler DeRoo on          4   Bloomfield Capital so indicated.
 5   September 13th about why -- you mentioned that the       5       MR. GALE: I'm going to object. This was
 6   payoff for the four current payoff letters total         6   asked and answered during Mr. Stein's questioning
 7   4.911 million as compared to the 4.88 million            7   and we're now well over --
 8   allocated towards the payoff in the term sheet?          8       MS. WINE: I was really just trying to lay a
 9       A I don't recall.                                    9   foundation. I will go on to the next question.
10       Q Okay. I believe you testified that                10       By Ms. Wine:
11   the -- excuse me -- the payoff for those four           11       Q Which is when you received the payoffs
12   properties was larger than the amount in the term       12   that are attached as Exhibit 10 -- I don't have the
13   sheet, correct?                                         13   pages easily. The payoffs for those two properties
14       A Yes.                                              14   was represented to be 1 million -- that's not it.
15       Q And the term sheet related to the payoff          15   I'm sorry for struggling with this a little bit.
16   of five properties, correct?                            16   Exhibit 14, not Exhibit 10.
17       A Yes.                                              17          So on September 25th of 2017, the payoff
18       Q And you do recall that there were five            18   was provided for both the 7625 and 7635 South East
19   properties financed by BC57?                            19   End properties in the amount of -- principal amount
20       A Yes.                                              20   of $1,210,000.
21       Q And there were five mortgages recorded            21          Do you see that?
22   against those properties?                               22       A Yes.
23       A That I -- I don't recall if there were            23       Q And the question is did you do anything
24   five separate mortgages.                                24   to determine or investigate why the amount had
                                                  Page 142                                                      Page 144
 1       Q But that would be in the loan closing              1   changed between these two payoffs?
 2   packages. In fact, maybe --                              2       A I don't recall.
 3       MR. HART: Are you asking him to speculate            3       Q And do you know whether anyone at
 4   what's in a loan closing package?                        4   Bloomfield Capital investigated that reduction in
 5       MS. WINE: No, let's not do that.                     5   principal balance?
 6       By Ms. Wine:                                         6       A I don't recall.
 7       Q Okay. Mr. Turzewski, do you see                    7       Q Does Bloomfield Capital typically see
 8   Exhibit 15 on the screen?                                8   the promissory notes on a loan that's being paid
 9       A Yes.                                               9   off?
10       Q No, strike that.                                  10       A The promissory note for a loan that
11          Okay. Returning to Exhibit 9, the                11   Bloomfield is paying off?
12   principal balance between 7625 South East End and       12       Q Correct.
13   7635 South East End, what was the total of those        13       A Some -- sometimes.
14   amounts?                                                14       Q Okay. Is that something that you would
15       A I don't know. You scrolled -- you want            15   request from a borrower?
16   me to add them up? You scrolled really fast.            16       A If, if -- yes, if necessary.
17       Q Okay. 7625 South East End, the                    17       Q And when would that be necessary?
18   principal balance was $1,170,000, correct?              18       A I don't -- I don't know.
19       A Yes.                                              19       Q Do you know whether anyone requested to
20       Q And 7635, the principal balance was               20   see the promissory notes on these five mortgages
21   $1,210,000, correct?                                    21   that were being released in connection with this
22       MR. HART: You're asking him the content of          22   loan?
23   these documents? This witness can't testify to          23       A I don't recall.
24   what the principal balance was on a loan he had         24       Q I'm going to share another document with
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                                                 Page 145                                                      Page 147
 1   you that I'm going to mark I believe as                 1           Do you see that?
 2   Exhibit 19; is that correct, Court Reporter?            2      A Yes.
 3       THE REPORTER: Yes.                                  3      Q Do you recall discussing with
 4       MS. WINE: Thank you.                                4   Mr. Marsala or anyone at Bloomfield Capital that
 5               (A document was marked Turzewski            5   the investors were private lenders in this case?
 6                Exhibit No. 19 for                         6      A I don't recall.
 7                identification.)                           7      Q Was that your understanding at the
 8       MR. GALE: Was this in the stuff that Max sent       8   time?
 9   around in the Dropbox?                                  9      A I don't recall.
10       MS. WINE: I'm sorry, it's not. I can send it       10      Q Mr. Marsala says Cohen is representing
11   to you after the deposition.                           11   that they have the right to remove them.
12       MR. GALE: If it's possible when you ask your       12           Do you see that?
13   question, if you could refer to Bates number that      13      A Yes.
14   would be helpful.                                      14      Q What do you understand Mr. Marsala was
15       MS. WINE: Okay.                                    15   saying when he wrote that? Did you have an
16       By Ms. Wine:                                       16   understanding?
17       Q    It's only a two-page document which           17      A I don't recall.
18   we're marking as Exhibit 19, a September 1, 2017       18      Q Do you have any understanding today
19   email from someone named Anthony Marsala to Matt       19   reading that statement what he's talking about?
20   Turzewski.                                             20      A No.
21          Mr. Turzewski who is Anthony Marsala?           21      Q Did you do anything to investigate
22       A He was an associate at Bloomfield.               22   whether Jerry Cohen had the right to remove private
23       Q Okay. And he is sending you notes that           23   lenders from the mortgage loans?
24   he refers to as from our call Wednesday, just for      24      A I don't recall.
                                                 Page 146                                                      Page 148
 1   your reference.                                         1       Q And I believe Mr. Stein asked you
 2           Do you see that?                                2   whether you actually ever looked at the mortgage
 3       A Yes.                                              3   loans that were a public record in this case, the
 4       Q And the notes that he's forwarding you            4   prior loans on these properties?
 5   are -- the subject line says Illinois Chicago Cohen     5       MR. HART: I'm objecting to the question. I
 6   multifamily site visit recap.                           6   don't know how anyone can look at a loan.
 7           Do you see that?                                7       MS. WINE: Thank you for that clarification.
 8       A Yes.                                              8       By Ms. Wine:
 9       Q Did you attend a site visit with                  9       Q Mr. Turzewski, I believe you testified
10   Mr. Marsala?                                           10   that you didn't recall whether you looked at the
11       A I don't recall.                                  11   mortgages that were recorded with the Recorder of
12       Q Okay. Do you recall having a call with           12   Deeds Office for the five mortgages that were
13   Mr. Marsala regarding a site visit?                    13   released in this refinance; is that correct?
14       A I don't recall.                                  14       A Yes, I don't recall.
15       Q And do you understand that these -- this         15       Q Okay. I'm going to show you one other
16   site visit related to the properties involved in       16   document, which again is not one of the documents
17   the BC57 loan?                                         17   that Mr. Stein had put in the -- had shared with
18       A I don't -- I don't recall.                       18   everyone before the deposition. But again, I will
19       MR. HART: We're going to terminate this            19   provide this after, and I would like to mark it now
20   deposition in about five minutes.                      20   as Exhibit 20.
21       By Ms. Wine:                                       21              (A document was marked Turzewski
22       Q Okay. The third to last bullet point,            22               Exhibit No. 20 for
23   Mr. Marsala says investors actually came in as         23               identification.)
24   private lenders in effect.                             24
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                                                Page 149                                                     Page 151
 1       By Ms. Wine:                                       1   witness is getting fatigued, and we have gone now
 2       Q Mr. Turzewski, do you see a document on          2   about 3 hours and 40 minutes.
 3   your screen that I'm marking as Exhibit 20?            3            Unless someone can give me a compelling
 4       A Yes.                                             4   reason to continue on with this, I think it's time
 5       Q This document bears the Bates                    5   to call it a day.
 6   No. BC570015110?                                       6        MS. WINE: Okay. I think I was about ending
 7       A Yes.                                             7   my questioning, but I will state that I think
 8       Q Okay. Have you seen documents of this            8   you're old enough to remember depositions that went
 9   nature before, Mr. Turzewski?                          9   a lot longer than 3 hours and 40 minutes, so.
10       A I don't know what you mean by of this           10        MR. HART: Absolutely, but not when you
11   nature.                                               11   litigate for years over how many depositions and
12       Q Okay. What type of document is this?            12   how long they're going to be allowed to take, A,
13       A I don't know.                                   13   and B, not when you're spending your time asking
14       Q Do you see the document indicates               14   the witness to testify to the contents of documents
15   $4.88 million to be refinanced?                       15   that you can put on the screen and read readily
16       A Yes.                                            16   yourself.
17       Q And was that the amount that was                17        MR. STEIN: MR. Hart, if I might I have one,
18   allocated towards payoffs in the term sheet that      18   maybe two follow-up questions.
19   was marked as Exhibit 5?                              19        MS. WINE: I'll tender the witness.
20       A I don't recall.                                 20                FURTHER EXAMINATION
21       Q If I could quickly go to Exhibit 5.             21        By Mr. Stein:
22          Do you have Exhibit 5 before you?              22        Q Mr. Turzewski, would it be fair to say
23       A Yes.                                            23   that you were primarily responsible for conducting
24       Q And was 4.88 million the amount that was        24   the due diligence that Bloomfield Capital performed
                                                Page 150                                                     Page 152
 1   allocated toward the payoff refinance in the term      1   prior to making the BC57 loan?
 2   sheet?                                                 2       A I, as I said before, I believe, I
 3       A Yes.                                             3   underwrote the value of the real estate. I
 4       Q Okay. Is this document a pro forma               4   compiled the credit memo, investment memo with
 5   statement?                                             5   input from other third parties, and that memo
 6       A No.                                              6   was -- was reviewed by my investment committee.
 7       Q You don't consider this a pro forma?             7       Q And that did lead me to the second
 8       A No.                                              8   question, which I just want to confirm.
 9       Q Was this a document that you've seen             9           When you refer to the investment memo,
10   before?                                               10   what you're referring to --
11       A I don't recall.                                 11       MR. HART: I think the term the witness used
12       Q Does it appear to be the type of                12   was credit memo, but.
13   document that you would get from a borrower?          13       MR. STEIN: Thank you. Thank you.
14       A I, I don't recall.                              14           We are at Exhibit 21?
15       Q I did not hear that. Can you repeat             15       THE REPORTER: Yes.
16   your answer?                                          16                (A document was marked Turzewski
17       A I don't recall.                                 17                 Exhibit No. 21 for
18       Q Okay. Is this a document that you               18                 identification.)
19   prepared?                                             19       By Mr. Stein:
20       A I don't recall.                                 20       Q Mr. Turzewski, I put into the Dropbox a
21       Q Does it look like the type of document          21   document I marked as Exhibit 21. It is an email
22   that you prepare in your regular course of duties?    22   from you. What I want to confirm is that the
23       A I, I don't recall.                              23   attachment that begins on the second page of that
24       MR. HART: I think it's apparent that the          24   exhibit is the credit memo to which you were just
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                                                Page 153                                                                 Page 155
                                                           1          IN THE UNITED STATES DISTRICT COURT
 1   referring?                                                          NORTHERN DISTRICT OF ILLINOIS
 2       A Yes.                                           2                  EASTERN DIVISION
                                                          3    SEC,                      )
 3       Q Okay. Thank you.                                                          )
 4       MR. HART: Thank you.                             4                Plaintiff, )
                                                                                     )
 5       MR. STEIN: Nothing further.                      5        vs.                 )No. 18-cv-5587
 6       MR. GALE: Max, I have a question, because I                                 )
                                                          6    EQUITYBUILD, INC., et al., )
 7   can't get in the Dropbox that you just put that in.                             )
 8   are there Bates numbers on that?                     7                Defendants. )
                                                          8            I, MATTHEW TURZEWSKI, being virtually
 9       MR. STEIN: Yep. It is the October 4th email,          first duly sworn, on oath, say that I am the
10   BC570013967.                                         9    deponent in the aforesaid deposition, and that I
                                                               have read the foregoing transcript of my
11       MR. HART: Okay. So a one page -- that's the 10        deposition, consisting of pages 1 through 157,
12   first page of it?                                         inclusive, taken on October 29, 2021, at the
                                                         11    aforesaid place and that the foregoing is a true
13       MR. STEIN: Yes.                                       and correct transcript of my testimony so given.
14       MR. GALE: Okay. Do you know what the last 12    13              _______corrections were made
15   page of it is by any chance?                        14              _______no corrections were made
                                                         15
16       MR. STEIN: It's a long one. 14150.              16              ________________________________
17       MR. GALE: Thank you, sir.                                       MATTHEW TURZEWSKI
                                                         17
18       MR. STEIN: I have nothing further. Thank        18
19   you.                                                      SUBSCRIBED AND SWORN TO
                                                         19    before me this _____ day
20       MR. HART: Thank you.                                  of ___________ A.D., 2021.
21       MS. WINE: I have nothing further. Thank you 20
                                                         21    ____________________________
22   for your time, Mr. Turzewski.                             NOTARY PUBLIC
23       MR. GALE: If nobody's got any more questions, 22
                                                         23
24   can we go off the record for a minute, so I can ask 24
                                                Page 154                                                                 Page 156
 1 a question?                                              1 STATE OF ILLINOIS )
 2    MR. HART: Yes. Matt, see you later.                                   )SS:
 3           DEPOSITION CONCLUDED                           2 COUNTY OF W I L L )
 4                                                          3        I, MARYBETH ROESSLER, a notary public
 5                                                          4 within and for the County of Will and State of
 6                                                          5 Illinois, do hereby certify that MATTHEW TURZEWSKI,
 7                                                          6 virtually appeared before me on October 29, 2021,
 8                                                          7 as a witness in a cause now pending and
 9                                                          8 undetermined in the United States District Court,
                                                            9 Northern District of Illinois, Eastern Division,
10
                                                           10 wherein SEC, is Plaintiff and EquityBuild, Inc.,
11
                                                           11 et al., are Defendants, No. 18-cv-5587.
12
                                                           12        I further certify that the said MATTHEW
13
                                                           13 TURZEWSKI was by me virtually first duly sworn to
14                                                         14 testify to the truth, the whole truth and nothing
15                                                         15 but the truth in the cause aforesaid before the
16                                                         16 taking of his deposition; that the testimony given
17                                                         17 was stenographically recorded in the virtual
18                                                         18 presence of said witness by me, and afterwards
19                                                         19 reduced to typewriting, and that the foregoing is a
20                                                         20 true and correct transcript of said testimony.
21                                                         21        I further certify that there were
22                                                         22 virtually present at the taking of this deposition
23                                                         23 the aforementioned counsel.
24                                                         24        I further certify that I am not counsel
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                                                 Page 157
 1   for nor in any way related to any of the parties to
 2   this suit, nor am I in any way interested in the
 3   outcome thereof.
 4         IN TESTIMONY WHEREOF, I have hereunto set
 5   my hand and seal this 10th day of November, 2021.
 6
 7
 8
                 _________________________
 9                NOTARY PUBLIC
                  WILL COUNTY, ILLINOIS
10                CSR NO. 084-002864
                  CSR Expires: May 31, 2023
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